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            IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      CENTRAL DIVISION

GLADYS ANDERSON, individually )
and as next friend of F.A., a minor; )                 FILED
                                                     U.S. DISTRICT COURT
                                                 EASTERN DISTRICT ARKANSAS
SCOTTANDERSON;NANCY                  )
DICKERSON; TREVA BRANSCUM;)                             AUG 14 2023
SCOTT LOVELADY; LAVEANE              )
LOVELADY; MICKEY MCMILLEN; )                        ~AMMYH.DO~LERK
TAMMY MCMILLEN; SHERRY               )         By         @.          EPCLERK

NEWTON; BRYAN STIRES; JAMIE)
STIRES; TOMMY KIRKPATRICK; )
RYAN LOVELADY; ASHLEY                )
LOVELADY; STAN MCMILLEN;             )
DAVID HARGROVE; DIANNE               )
HARGROVE;REBECCA                     )
EDWARDS; RICKEY CARRELL              )
JOYNER; KELLEY TAPLEY; KIM )
WELTER; SHANE MARKUSON;              )
and DANNY LANE,                      )
        Plaintiffs,                  )
V.                                   )     No. 4:23-cv-685-LPR
                                     )
NEWRAYS ONE, LLC,                    )
     Defendant.                      )

                   FIRST AMENDED COMPLAINT

        Plaintiffs Gladys Anderson, individually and as parent and next

friend of F.A., a minor child; Scott Anderson, Nancy Dickerson; Treva

Branscum; Scott Lovelady; Laveane Lovelady; Mickey McMillen; Tammy

McMillen; Sherry Newton; Bryan Stires; Jamie Stires; Tommy

Kirkpatrick; Ryan Lovelady; Ashley Lovelady; Stan McMillen; David

Hargrove; Dianne Hargrove; Rebecca Edwards; Rickey Carrell Joyner;
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Kelley Tapley; Kim Welter; Shane Markuson; and Danny Lane plead their

complaint as amended against Defendant Newrays One:

                                PARTIES

        1.    This First Amended Complaint is being filed within 21 days

of Plaintiffs serving Defendant Newrays One, LLC, with their original

Complaint and within 21 days of service of Newrays One, LLC's, motion

to dismiss under Federal Rule 12(b). This First Amended Complaint may

thus be filed without prior leave of Court. FED. R. CIV. P. 15(a)(l). This

case is about the ultrahazardous, dangerous, obnoxious, offensive,

damaging, and extremely loud noises and whine being almost constantly

emitted in ranges from 53 to 95 decibels by a recently created Arkansas

limited liability company's Bitcoin cryptocurrency server farm or "mine"

in Bono, Faulkner County, Arkansas.

        2.    Plaintiff, Gladys Anderson, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 437 Hwy 285 North,

Damascus, Arkansas 72039. Gladys is the custodian, legal guardian,

guardian in fact, and mother of F.A., a minor child. F.A. resides with

Gladys in Bono at the above address. F.A. suffers from autism and other

disabilities. Gladys has executed an affidavit in this cause detailing her



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injuries and claims against the Defendant. An accurate copy of that

affidavit is attached as Exhibit AA and incorporated by reference. That

affidavit includes the following exhibits:

        Al    Video
        A2    Video
        A3    Video
        A4    Video
        A5    Video
        A6    Notes on Bitcoin dB readings
        A7    7/13/2023 Redacted Medical Note

        3.    Plaintiff Scott Anderson, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 437 Hwy 285 North,

Damascus, Arkansas 72039.

         4.   Plaintiff Nancy Dickerson, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 36 Slatey Gap Road,

Damascus, Arkansas 72039. Nancy has executed an affidavit in this cause

detailing her injuries and claims against the Defendant. An accurate copy

of that affidavit is attached as Exhibit C and incorporated by reference.

         5.    Plaintiff Treva Branscum, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 55 Slatey Gap Road,

Damascus, Arkansas 72039. Treva has executed an affidavit in this cause




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detailing her injuries and claims against the Defendant. An accurate copy

of that affidavit is attached as Exhibit D and incorporated by reference.

        6.    Plaintiff, Scott Lovelady, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 50 Slatey Gap Road,

Damascus, Arkansas 72039. Scott has executed a joint affidavit in this

cause with Leveane Lovelady detailing their injuries and claims against

the Defendant. An accurate copy of that affidavit is attached as Exhibit

E and incorporated by reference.

        7.    Plaintiff, Leveane Lovelady, is a resident and citizen of

Bono, Faulkner County, Arkansas, with an address of 50 Slatey Gap Road,

Damascus, Arkansas 72039. Leveane has executed a joint affidavit in this

cause with Scott Lovelady detailing their injuries and claims against the

Defendant. An accurate copy of that affidavit is attached as Exhibit E and

incorporated by reference. Leveane has executed an affidavit in this cause

detailing her injuries and claims against the Defendant. An accurate copy

of that affidavit is attached as Exhibit E and incorporated by reference.

        8.    Plaintiff, Mickey McMillen, is a resident and citizen and

citizen of Bono, Faulkner County, Arkansas, with an address of 35 Slatey

Gap Road, Damascus, Arkansas 72039. Mickey has executed an affidavit



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in this cause detailing his injuries and claims against the Defendant. An

accurate copy of that affidavit is attached as Exhibit F and incorporated

by reference.

        9.      Plaintiff, Tammy McMillen, is a resident and citizen of

Bono, Faulkner County, Arkansas, with an address of 35 Slatey Gap Road,

Damascus, Arkansas 72039. Tammy has executed an affidavit in this

cause detailing her injuries and claims against the Defendant.          An

accurate copy of that affidavit is attached as Exhibit G and incorporated

by reference.

        10.     Plaintiff, Sherry Newton, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 28 Slatey Gap Road,

Damascus, Arkansas 72039.

        11.     Plaintiff, Bryan Stires, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 24 Slatey Gap Road,

Damascus, Arkansas 72039. Bryan has executed a joint affidavit in this

cause with Jamie Stires detailing their injuries and claims against the

Defendant. An accurate copy of that affidavit is attached as Exhibit H

and incorporated by reference.




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        12.   Plaintiff, Jamie Stires, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 24 Slatey Gap Road,

Damascus, Arkansas 72039. Jamie has executed a joint affidavit in this

cause with Bryan Stires detailing their injuries and claims against the

Defendant. An accurate copy of that affidavit is attached as Exhibit H

and incorporated by reference

        13.   Plaintiff, Tommy Kirkpatrick, is a resident and citizen of

Bono, Faulkner County, Arkansas, with an address of 14 Slatey Gap Road,

Damascus, Arkansas 72039.

        14.   Plaintiff, Ryan Lovelady, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 4 Slatey Gap Road,

Damascus, Arkansas 72039.

        15.   Plaintiff, Ashley Lovelady, is a resident and citizen of

Faulkner County, Arkansas, with an address of 4 Slatey Gap Road,

Damascus, Arkansas 72039.

        16.   Plaintiff, Stan McMillen, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 451 Hwy 285 N,

Damascus, Arkansas 72039.




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        1 7.    Plaintiff, David Hargrove, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 486 Hwy 285 N,

Damascus, Arkansas 72039.

        18.     Plaintiff, Dianne Hargrove, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 486 Hwy 285 N,

Damascus, Arkansas 72039.

        19.     Plaintiff, Rebecca Edwards, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 461 Hwy 285 N,

Damascus, Arkansas 72039. Rebecca has executed an affidavit in this

cause detailing her injuries and claims against the Defendant.             An

accurate copy of that affidavit is attached as Exhibit I and incorporated

by reference.

        20.     Plaintiff, Rickey Carrell Joyner, is a resident and citizen of

Morrilton, Conway County, Arkansas, with an address of 124 Spring

Valley, Morrilton, Arkansas 72110. He owns a remainder interest in real

property located in Bono, Faulkner County, Arkansas, subject to a life

estate in Rebecca Edwards.




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        21.   Plaintiff, Kelley Tapley, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 23 Spotts Drive,

Damascus, Arkansas 72039.

        22.   Plaintiff, Kim Welter, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 29 Huntington Drive,

Greenbrier, Arkansas 72058.

        23.   Plaintiff, Shane Markuson, is a resident and citizen of Bono,

Faulkner County, Arkansas, with an address of 453 Hwy 285 N,

Damascus, Arkansas 72039. Markuson has executed an affidavit in this

cause detailing his injuries and claims against the Defendant.          An

accurate copy of that affidavit is attached as Exhibit BB and incorporated

by reference. That affidavit includes the following exhibits:

        Bl    Video
        B2    Video
        B3    Video
        B4    Picture of Digital Sound Level Meter at 74.4
        B5    Picture of Digital Sound Level Meter at 68.8
        B6    Picture of Digital Sound Level Meter at 66.4

        24.   Separate Plaintiff, Danny Lane, is a resident and citizen of

Bono, Faulkner County, Arkansas, with an address of 426 Hwy 285 N,

Damascus, Arkansas 72039. Danny has executed an affidavit in this

cause detailing his injuries and claims against the Defendant.          An

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accurate copy of that affidavit is attached as Exhibit J and incorporated

by reference.

        25.     That the Defendant, Newrays One, LLC, is a Limited

Liability Company which is registered in the State of Arkansas. Its

registered agent is Registered Agents Inc., 701 South St., Ste 100,

Mountain Home, Arkansas 72653. An accurate copy of its filings with the

Arkansas Secretary of State are attached as Exhibit Kand incorporated

by reference. On information and belief based entirely upon and in

reliance upon the representations of counsel for Newrays One, LLC, in

their notice of removal, none of the members of Newrays One, LLC, are

citizens of the State of Arkansas, have a principal place of business in

Arkansas, are incorporated under Arkansas law, or are non-corporate

entities whose members are citizens of Arkansas for diversity of

citizenship purposes.

        26.     The property which is the subject matter of this Complaint

is located in Bono, Faulkner County, Arkansas.

        27.     The amount in controversy exceeds $75,000.




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                       FACTUAL ALLEGATIONS

        28.    Plaintiffs incorporate by reference all previous allegations

contained in paragraphs 1-26 above.

        29.    Plaintiffs own homes and real property located in the Bono

Community of Faulkner County.              Attached as Exhibit "P.:' and

incorporated by reference are the Plaintiffs' deeds vesting title in them to

the real property at issue.

        30.    Plaintiffs purchased their homes and real property, or

acquired a divisible interest therein, based upon the aesthetics and quiet

agrarian residential nature of the Bono Community, such aesthetics

consisting of larger acreage tracks with single residences. Some of the

Plaintiffs have held the land at issue for generations of their family.

         31.   The Defendant, Newrays One, LLC, purchased 20 acres in

the Bono Community and installed a Bitcoin or "crypto mining'' server

farm operation adjacent to or nearby the Plaintiffs' properties. Attached

as Exhibit "B" and incorporated by reference is an accurate copy of

Defen_dant's deed to that real property.

         32.   Crypto mining requires a large number of computers which

produce excessive heat. Fans can be used to cool the computers, but the


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fans and computer equipment emit a "whining'' sound that is loud and at

a such a frequency to make being in the vicinity mentally and physically

detrimental. The whining sound permeates the Bono community and real

properties owned in whole or part by the Plaintiffs. Some Plaintiffs have

detailed the annoying, obnoxious, physically dangerous, ultra-hazardous,

physically damaging, mentally damaging whine emitting from the

Defendant's facility in their affidavits exhibited to this Complaint. That

experience is typical of each Plaintiff who resides on their property. All

of the Plaintiffs have experienced a detrimental impact on the value of

their properties, and almost all of the Plaintiffs have been deprived of the

peaceful use and enjoyment of their land.

         33.   It is believed that location was chosen by Defendant due to

available power as crypto mining takes substantial amounts of energy and

water. On information and belief, Defendant is controlled directly or

indirectly by residents or citizens of the Republic of China, which recently

outlawed crypto-mining facilities due to the hazardous and dangerous

consequences for persons who live near those facilities and the

environment near those facilities. On information and belief, Defendant

was therefore on notice of the dangerous and hazardous consequences of


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operating a crypto-currency server farm or mine yet it failed to do more

than erect thinly insulated boxes of internet servers with conscious

disregard for the obvious threat that operation posed to adjoining and

nearby property owners' health, lives, and property values. Constant,

high-pitched noise pollution is associated with increased blood pressure,

stress, anxiety, risk of stroke, and other significant injuries. Defendant

knew or should have known about these significant risks of injury, but

carried on its conduct nonetheless.

        34.   Since Defendant has started operating its crypto mine in the

summer of 2023, the Plaintiffs' home life has become intolerable due to the

noise caused by the crypto mining.         Plaintiffs are harassed almost

constantly by the high decibel whine of Defendant's server farm both

inside and outside their homes. Some of the Plaintiffs are experiencing

constant ringing in their ears, hearing loss, sleeplessness, increased blood

pressure, and increased stress and discomfort. Members of some of the

Plaintiffs' families are experiencing similar injuries. F.A., an autistic

minor child, does not wish to be present in his home, resists leaving the

vehicle to go into his home, and places his hands over his ears with

regularity.   Another Plaintiff who lives 1.8 miles away from the


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Defendant's server farm also hears the near constant whine both inside

and outside their home.

           35.    Defendant, instead of spending money on a noise free


      ,.
immersion system which would have allowed the mine to run at a far

lower decibel rate, opted for the cheaper alternative which is the fan

system. The fan system creates and expels excessive noise from the

facility onto the properties of Plaintiffs.

           36.    Defendants have been operating with no sound barriers or

system to dampen the sound. It is well documented that crypto mines

create excessive noise, however, Defendant has completely disregarded

this and has created a tremendous nuisance and ultrahazardous risk of

injury to on its neighbors and the Bono Community as a whole.

           3 7.   The crypto mine runs 24 hours per day, 7 days a week. It

emits an intolerable "whine" sound that permeates constantly through the

Bono Community. That whine is heard by the Plaintiffs even after they

leave their homes and the Bono Community, indicating Plaintiffs are

experiencing serious and painful personal injuries.

           38.    The noise decibel rates outside of the Defendant's facility is

60-70dB and greater 24 hours a day, 7 days a week.


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        39.    Plaintiffs cannot go outside, host cook-outs comfortably,

sleep, or generally enjoy their properties either inside or outside due to

the excessive noise.

        40.    The actions of Defendant is causing permanent damage to

some Plaintiff's hearing, irritation and medical issues for some of their

children with special needs, and disrupting the overall mental and

physical health and welfare of the community.

        41.    Further, due to the excessive noise, all of Plaintiffs' real

property has been devalued and is unmarketable.          No person would

knowingly move into a community and live with the crippling noise caused

by Defendant. Faulkner County officials have attempted to meet with and

convince Defendant to erect sound barriers and otherwise lower the

speeds and output of its server farm, but Defendant has failed and refused

to do so despite repeated warnings and information that its course of

conduct was damaging and would continue to damage the Plaintiffs and

their property.

                       COUNT I - STRICT LIABILITY

         42.   Plaintiffs reincorporated paragraph 1 through 40 by

reference.


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        43.    The operation of an above-ground, fan-cooled server farm

with little to no sound insulation which emits 57-93 decibels at a high

pitched "whine" reaching as far away as 1.8 miles is an ultra hazardous

activity. The emission of that level of noise pollution necessarily involves

the risk of serious harm to person or chattels of others which cannot be

eliminated by the exercise of the utmost care and is not a matter of

common usage. Ginardi v. Frontier Gas Services, LLC, No. 4: 11-cv-420-

BRW, 2011 WL 3493125 (E.D. Ark. Aug 10, 2011); Zero Wholesale Gas

Co., Inc. v. Stroud, 264Ark. 27,571 S.W.2d 74 (1978); Chapman Chemical

Co. v. Taylor, 215 Ark. 630, 222 S.W.2d 820 (1949); Western Geophysical

Co. v. Mason, 240 Ark. 767, 402 S.W.2d 657 (1966); Tri-BAdvertising Co.

v. Thomas, 278 Ark. 58, 643 S.W.2d 54 7 (1982).

         44.   Defendant's operation of this ultrahazardous facility and

ac_tivity has proximately caused damage to Plaintiffs in their persons and

their property.

         45.   Defendant is therefore strictly liable to the Plaintiffs for the

injuries and damages they have sustained and will sustain in the future.

         46.   Defendant should be punished and deterred from this

conduct by the imposition of punitive damages. It knew or out to have


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known, in light of the surrounding circumstances, that its conduct with

naturally and probably result in injury and damage and it conducted such

conduct with malice or in reckless disregard of the consequences from

which malice may be inferred, or it intentionally pursued this course of

conduct for the purpose of causing injury to the Plaintiffs.

        4 7.   This Court should also enjoin Defendant on a temporary and

permanent basis from further operating this facility in such a manner as

to damage the Plaintiffs and their property.

                        COUNT II-NUISANCE
        48.    Plaintiffs incorporate by reference all the preVIous

allegations contained in paragraphs 1-46 above.

        49.    Defendant's construction and operation of their crypto

mining operation constitutes a nuisance to the adjoining land owners.

        50.    Plaintiffs as adjoining and nearby landowners have been

deprived of the quiet and peaceful use and enjoyment of their properties

and have sustained special damages.          Defendant's operation is a

substantial and unreasonable interference with Plaintiffs' use and

enjoyment of their properties.




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        51.    The injuries caused by Defendant's operation include more

than diminution in property value. Plaintiffs are experiencing sleepless

nights, an inability or disincentive to spend time outdoors, increased blood

pressure, increased medical issues, headaches, loss of hearing, constant

ringing in their ears, anxiety, and distress.

        52.    Arkansas law recognizes significant noise pollution as a type

of nuisance. Manitowoc Remanufacturing, Inc. v. Vocque, 307 Ark. 271,

819 S.W.2d 275 (1991); Baker v. Odom, 258 Ark. 826, 529 S.W.2d 138

(1975); Green v. Smith, 231 Ark. 94, 328 S.W.2d 357 (1959). Strong, clear,

and urgent reasons necessitate an injunction ceasing Defendant's

operation of the server farm in its current form in this previously rural,

residential area.

         53.   The conduct of Defendant and the related noise from their

operation unreasonably interferes with the use and enjoyment of the lands

of Plaintiffs. The Defendant's conduct disturbs the peaceful, quiet, and

undisturbed use and enjoyment of Plaintiffs' property.

         54.   Defendant's actions proximately caused the Plaintiffs to no

longer enjoy the use of their properties. Their property values have been

diminished, the Plaintiffs have and will sustain painful personal injuries,


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and the actions of Defendant have made their lives intolerable.

Defendant's conduct is such that this Court should issue a temporary and

permanent injunction, award Plaintiffs damages sustained, and also

award punitive damages against Defendant.

                      COUNT III - NEGLIGENCE

        55.   The Plaintiffs incorporate by reference all the previous

allegations contained in paragraph 1-53 above.

        56.   Arkansas has long recognized that neighboring property

owners owe a duty to their neighbors to use reasonable care to avoid

harming their neighbors or their neighbors' property. Ginardi v. Frontier

Gas Services, LLC, No. 4:11-cv-420-BRW, 2011 WL 3493125 (E.D. Ark.

Aug 10, 2011); Planters' Warehouse & Compress Co. v. Taylor, 64 Ark.

307, 42 s.w. 279 (1897).

        57.   Defendant breached that duty of ordinary care.

        But, if the operation of the compress endangered the property of
        other persons, it was the duty of the compress company, both in
        constructing and in operating its plant, to take such precaution
        and use such means to lessen the danger and prevent the injury
        as a man of ordinary prudence, conversant with the business,
        understanding its operation and the danger to adjoining property
        incident thereto, would have used or adopted for the purpose of
        preventing loss or injury to surrounding property.

Planters' Warehouse & Compress Co. v. Taylor, 64Ark. 307, 42 S.W. 279

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(1897). Defendant did not take the precautions and use the means to

lessen the danger and prevent the injury to Plaintiffs that any person of

ordinary prudence, conversant with the business, understanding its

operation and the dangers it posed, would have undertaken.

        58.   Defendant's conduct directly and proximately caused painful

personal injuries to Plaintiffs and damaged their property. Defendant's

conduct is such that Plaintiffs should be awarded punitive damages

against Defendant to punish and deter it from engaging in future

malicious acts.

              COUNT IV - DECLARATORY JUDGMENT

        59.   The Plaintiffs incorporate by reference all the previous

allegations contained in paragraph 1-57 above.

        60.   The federal declaratory judgment act, 28 U.S.C. § 2201, and

Arkansas' Declaratory Judgment Act, allow this Court to issue a judgment

declaring the rights and status of the parties to a controversy, and to issue

all other orders necessary to effectuate that judgment.

        61.   The crypto mining operation of Defendant should be

declared to be a nuisance and ultrahazardous activity which unreasonably

interferes with the property of Plaintiffs, is causing painful personal


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injuries to the Plaintiffs, and is utterly intolerable in a civil society.

          62.   No individual should have to withstand the noise abuse that

the Plaintiffs are plagued with at the hands of the Defendant.

          63.   The Court should enjoin Defendant from operating its crypto

mine preliminarily and permanently or until it can no longer be heard

from Plaintiffs' adjoining and nearby properties.

          64.   The Court should declare the actions of Defendants a

nuisance and ultra-hazarous activity utterly intolerable in a civil society,

and set a maximum decibel rating below 25 or which the Court determines

will not interfere with the Plaintiffs use and enjoyment or their property

or otherwise injure the Plaintiffs and their families.

                          COUNT V - OUTRAGE

          65.   The allegations contained in paragraphs one through 63 are

incorporated herein.

          66.   Defendant knew or should have known that emotional

distress and other actual damages would result from its actions as set out

herein.

          67.   Defendant's conduct is extreme, outrageous, and utterly

intolerable in a civilized society.


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        68.   Defendant's actions has caused and will continue to cause

anguish and distress to the Plaintiffs and to their children and property.

        69.   The emotional distress that is being caused is severe and of

a type that no reasonable person should be expected to endure.

        70.   The Plaintiffs are entitled to damages based on Defendant's

intentional outrageous conduct.

        71.   The Plantiffs are entitled to punitive damages due to

Defendant's outrageous and utterly intolerable intentional infliction of

emotional distress and injury to the Plaintiffs, which is ongoing and

incessant.

                              INJUNCTION

        72.   The Plaintiffs incorporate by reference all the previous

allegations contained in paragraphs 1-70 above.

        73.   Pursuant to Rule 65 of the Federal Rules of Civil Procedure,

the Plaintiffs request that a preliminary and permanent injunction be

granted against Defendant enjoining it from operating its crypto mining

operation or otherwise requiring Defendant to bring the operation of its

crypto mining facility below 25 decibels or a sound level this Court

determines appropriate. Plaintiffs are mindful of this Court's request for


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a separately filed motion for this relief and are preparing to file same.

This pleading is alleged to further preserve and assert that request for an

injunction.

        74.    Plaintiffs have suffered and will continue to suffer

permanent and irreparable damage to their persons and property by the

Defendant's continued operation of a constant, loud "whine" reaching

above 90 decibels at times. The failure to grant the preliminary injunction

will cause permanent damage to Plaintiffs as the noise from the facility

is creating intolerable living conditions for the Plaintiffs.      They are

experiencing hearing damage, mental damage, and, in general, not

allowed the quiet enjoyment of their properties. And moreover, they can

not sell their property to escape the "whine" of the crypto mine.

         75.   That the Court should waive the bond requirements for a

preliminary injunction as Defendant has intentionally not taken steps to

abate the sound, it is uncertain if Defendant will ever produce a profitable

"bitcoin chain" or "cryptocurrency chain" of value during any period of the

injunction, and Defendant could lessen the decibels of whine generated by

its facility, on information and belief, but chose to not do so in conscious

disregard of the safety and peaceful enjoyment of its neighbors.


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Defendant was aware of the noise it would make and disregarded the

rights and welfare of adjoining property owners.

        76.   That there is a high likelihood that the Plaintiffs will be

successful in the prosecution of their case and claims.

                    MOTION TO VIEW PROPERTY

        77.   Plaintiffs reincorporated Paragraphs 1 through 75 by

reference.

        78.   Plaintiffs have invoked the judiciary's equitable jurisdiction

as the damages they have sustained and will sustained are irreparable

and incapable of being fully remedied by damages.

        79.   Plaintiffs request that the Court and fact-finder visit, for as

reasonably short a period as possible, the property of Defendant or

Plaintiffs to experience the noise pollution and incessant "whine" of the

crypto-mine, to aid this Court and the fact-finder in assessing the

damages of the Plaintiffs caused by Defendant's misconduct.

        80.   Due to the unique character of the industry and the related

properties, it would be the best use of judicial economy for the Court and

fact-finder to view and experience the site.




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        81.   Plaintiffs demand a trial by jury.

                         PRAYER FOR RELIEF

        WHEREFORE Plaintiffs, pray for relief and judgement against

the Defendant as follows below:

        a.    That a temporary injunction and restraining order be put in

        place barring Defendants from operating their crypto mine and,

        alternatively, from operating their crypto mine above 25 decibels

        or another level determined appropriate by the Court.

        b.    That a permanent injunction and restraining order be put

        in place barring Defendants from operating their crypto mine

        and, alternatively, from operating their crypto mine above 25

        decibels or another level determined appropriate by the Court.

        c.    That by Declaratory Judgement, the Court rule on a

         maximum decibel rating in which the Defendant can operate that

        will not in any way affect Plaintiffs.

         d.   For all damages allowable in law or in equity, including but

not limited to compensatory damages, special damages due to

inconvenience and discomfort, medical expenses, pain and suffering, real

estate loss of values, and loss of use of property caused by Defendant.


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        e.    Punitive Damages.

        f.    For attorney fees applicable to all causes of action, including

pursuant to Arkansas Code Annotated § 16-22-309, to the extent this

Court determines Defendant's resistance was based upon a complete

absence of a justiciable issue of either law or fact.

        g.    For the cost of litigating this case.

        h.     For any and all other legal and equitable relief justified

under the law.

                                Respectfully submitted,

                                GLADYS ANDERSON, individually and as
                                parent and next friend of F.A., a minor;
                                SCOTT ANDERSON; NANCY
                                DICKERSON; TREVA BRANSCUM;
                                SCOTT LOVELADY; LAVEANE
                                LOVELADY; MICKEY MCMILLEN;
                                TAMMY MCMILLEN; SHERRY
                                NEWTON; BRYAN STIRES; JAMIE
                                STIRES;TOMMYKIRKPATRICK;RYAN
                                LOVELADY; ASHLEY LOVELADY;
                                STAN MCMILLEN; DAVID HARGROVE;
                                DIANNE HARGROVE; REBECCA
                                EDWARDS; RICKEY CARRELL
                                JOYNER; KELLEY TAPLEY; KIM
                                WELTER; SHANE MARKUSON; and
                                DANNY LANE,




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                                By:    H. DAVID BLAIR
                                       Bar No. 65004
                                       BARRETT S. MOORE
                                       Bar Number 2009118
                                       BLAIR & STROUD
                                       Attorneys for Plaintiffs
                                       P.O. Box 2135
                                       Batesville, Arkansas 72503
                                       Telephone: (870) 793-8350
                                       E-mail: hdb@blastlaw.com
                                       E-m . b @bla




                                       -and-

                                       NATHAN S. MORGAN
                                       Bar Number 2009269
                                       MORGAN LAW FIRM, P.A.
                                       Attorneys for Plaintiff
                                       244 Hwy. 65 N, Suite 5.
                                       Clinton, Arkansas 72031
                                       Telephone: (501) 745-4044
                                       E-mail: nathan@morganlawfirmpa.com




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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 27 of 118




                     DEMAND FOR A JURY TRIAL

         Comes Plaintiffs Gladys Anderson, individually and as parent and

next friend of F .A., a minor child; Scott Anderson, Nancy Dickerson; Treva

Branscum; Scott Lovelady; Laveane Lovelady; Mickey McMillen; Tammy

McMillen; Sherry Newton; Bryan Stires; Jamie Stires; Tommy

Kirkpatrick; Ryan Lovelady; Ashley Lovelady; Stan McMillen; David

Hargrove; Dianne Hargrove; Rebecca Edwards; Rickey Carrell Joyner;

Kelley Tapley; Kim Welter; Shane Markuson; and Danny Lane and,

pursuant to Rule 38 of the Federal Rules of Civil Procedure, demands

their right of trial by jury as to all issues so triable.




                                      -27-
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 28 of 118




                                Respectfully submitted,

                                GLADYS ANDERSON, individually and as
                                parent and next friend of F.A., a minor;
                                SCOTT ANDERSON; NANCY
                                DICKERSON; TREVA BRANSCUM;
                                SCOTT LOVELADY; LAVEANE
                                LOVELADY; MICKEY MCMILLEN;
                                TAMMY MCMILLEN; SHERRY
                                NEWTON; BRYAN STIRES; JAMIE
                                STIRES; TOMMY KIRKPATRICK; RYAN
                                LOVELADY; ASHLEY LOVELADY;
                                STAN MCMILLEN; DAVID HARGROVE;
                                DIANNE HARGROVE; REBECCA
                                EDWARDS; RICKEY CARRELL
                                JOYNER; KELLEY TAPLEY; KIM
                                WELTER; SHANE MARKUSON;
                                and DANNY LANE,

                                       Plaintiffs

                                By:    H. DAVID BLAIR
                                       Bar No. 65004
                                       BARRETT S. MOORE
                                       Bar Number 2009118
                                       BLAIR & STROUD
                                       Attorneys for Plaintiffs
                                       P.O. Box 2135
                                       Batesville, Arkansas 72503
                                       Telephone: (870) 793-8350
                                       E-mail: hdb@blastlaw.com
                                       E-                     .com




                                      -28-
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 29 of 118




                                     -and-

                                     NATHANS. MORGAN
                                     Bar Number 2009269
                                     MORGAN LAW FIRM, P.A.
                                     Attorneys for Plaintiff
                                     244 Hwy. 65 N, Suite 5.
                                     Clinton, Arkansas 72031
                                     Telephone: (501) 745-4044
                                     E-mail: nathan@morganlawfirmpa.com




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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 30 of 118




                     CERTIFICATE OF SERVICE

        I served a copy of the forgoing instrument on August 11, 2023,

by depositing it in the U.S. Mails, with sufficient postage prepaid, and

addressed to the following persons:


        Stephen R. Giles
        Alexander T. Jones
        William J. Ogles
        WRIGHT, LINDSEY & JENNINGS LLP
        200 West Capitol Avenue, Suite 2300
        Little Rock, Arkansas 72201-3699

        ATTORNEY FOR NEWRAYS ONE, LLC




                                    -30-
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 31 of 118



                                                                                                    I
                                                                                                    ;CERTIFICATE of RECORD

                                                                                                        Instrument #201703311
                                                                                                        Reel Eatate Book
                                                                                                        Deed
                                                                                                        FBed: 03103/2017 01:33 pm

                                                   WARRANTYDEED                                     ,I! Faulkner County, Arkanua
                                                                                                        Cryatal Taylor, Circuit Clerk
                                                                                                        By: VICKY CURRAN, O.C.
   KNOW AlL BY THF.88 PRESENTS:
                                                                                                    : 3 Pages                $25.00
                                                                                                    I
             That L Brenda A. Browpigg IIQ pnmarried pmou, for ■nd in consideration of the sum of Teo and po/100
   Dollan CSIQ.00) and other wluablc consideration to me in lrmd paid by Scott Aaderson and Qladw Anden!oA,
   husband and wife, heroin rcfi:rrcd co u GRANTESS, the receipt of which is hereby 1claiowfed1ed, do hereby grmr.
   barpin,   sen and convey 11DtO the GRANTEES 111d \IDtO lfJeir hein and aasipa fon,v,cr the followm,g described J■nds
   localed in tho County of Faulkper, State of AdsaRfF
   Part off•• N 1/2 SW 1/4 otsedloo 10. Towanlp? Nardi. Rap 14 Wat, J'aallm• Ceaat)t, Arlaullll, man panlcularl)'
   descrtbcd • bepmlit1 at dae Nortliwut C0111er or Rid N J/.1 SW V4; tllmce Soutla 11 •earte140 mlaata ot teeoads Eat,
   WI.II fed co tbe Nertlleast coraer or uld N 1/2 SW J/4: t!llllce alone "e Eat liae or 11fd N 1/2 SW V4 Snth DO decna
   31 mlllllfee JI MCODda Wat, 338.14 feet; dae11ee JeaYla, th Eut IIDe NGl"III U    d.,._    31 mlallta ff IICOlldl Wed,
   2'37.10 feet to tb Wat llat or Aid N 1/2 SW lM; tllence aleq Mid Wat Hue Nortb OI dtcreea 0,9 mlaatts 36 RCIOlldl
   ~ 327.82 feet Co dae polat olbee(aal...

  LESS AND EXCUl':
  Part .r die N J/2 of die SW 1/4 or Secdoa 10, T7N. R14W, Jallllmer Coant,, Arbasaa, anon particularly detcribed u
  follllWI: Commeada1 at die Nriwest eoraer eF tlle N 1/2 SW 1/4 or Secdoa 10, T7N, R14W, Pa'llllmer Couty,
  Arkaa.., at a tatmd 3" at.mfaam moa-t (APLS #1243) WDc tlle polllt or be&IIIJlla,; ti111ce aleDc die Nardi Ihle or
  aid N 1/l SW 1/4 S II ...... 40 mates DO - d i Eut 2'.11.11 reet to a At 112• nbar (APLS 11243) at die Nortltalt
  mn11r or uld N 1/l SW 1/4: dl&lla •IOIII ~e East llae or aid N 1/2 SW 1" S 00 deet"eet 3l adauta :II -111 Wat,
  25.00 rtct to a Hf V2" reb■ r (APLS #124]); thence leal'IIII IJlld last Dae Nortla U dqras 40 mlHta 08 IICOllds Wat,
  71l.8t reet tea found 1/J" rebar (APLS illlC3); tu11Ce Soatll 81 deeree 46 mlllldll 29 llllODdl Eat, 304.86 reet to a feud
  l/2" rekr (APLS flW); tfatllce Nard& U lkples 3hdallUI 56 aecoudl West, 18'7.32 feel to I foa1d lJ2" nhr (APLS
  11243) • tlle W•t Ille cf aid N Ill SW V4; dtencc aleq aid Wat Ille Nortb 00 dqrMI 89 mlat111136 AC1111ds Eat
  327.82 feet Clo tlle polat of bt&taalq. S.bJect ta ArkPaa State BJ1bway 215 rlpt of way aJnc die Eatt bG11Ddary of tlae
  . . . described property.                                            .

  MINERAL RESEllVATION: GRANTOll llerelD ll)lldOcaDJ resew die rfc.,_ fe aU oll, pa ud odaer mlauall ornery
  ldDd a.ad dlaraeta', daat 11111 may en, Oil or 18der the ladl llerel1 eoaw,ed. aacl all rtclats ladudla1 aay royalty ud
  boaa IDterat aacta- any oil, ps ud ollaer mlaeral Imes anutq In emtence or Uf uccutld la tlle future by
  Gruton. Saliject Clo aay pt1lr mlaeral , _ . . _ _

             SUBJECT TO RIGHT OFWAY/EAS:EMENTS AND RESTRICTIONS OF RECORD, IF .ANY. NO
             W.AIUlANTY OR REPRESENTATION IS MADE HEREIN AS '[0 ANY MlNEllAL INTEREST ON
             THE AFOREMENTIONED PROPER.TY,
  To have and to hold 'UDlo the GitANTEF.S and unto their heus and assigns forever, with all tenements,
  appmtemDces and hercditamcmts thareunto bolanaing.
             And I lacrcby covenant wllh 0RANTEF.S that I will forever warrant and defend 1be title 10 aid lands
  qafna all lawtw oJatms wba1socwr.


             WITNESS my band this    .28 or &Jo lo 11.
                                           day




                                                                                                                         EXHIBIT

                                                                                                                          A
  Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 32 of 118




... ....

                                                      ACKNOWLEDGMENT

           STATEOF       ARKANSAS

           COUNTY OF FAUIJCNER


                   BB IT R.EMEMBl;R.ED, lhat 011 this day came before me, the 110dcrsiped, a Notary Public. within and for

           the c:omtty afi>n:said. duly commissioned and acting. Brmla A, Brownlnl, to me well lmown.(or wnably proven

           to bo) as Che GRANTOR in the foreaoing Deed, and staled that she had exeaited the same for rbe consideration and

           purpose tbcn:in memianed and IOt fortb.

           Witness m~ band and seal as such Notary Poblic on the   2S       day of   h L, 1Q \7


       My O>mmission Expin:s:        I\•3, •2 \
   Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 33 of 118




                                                                                           I
                                                                                           · CERTIFICATE of RECORD
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                                                                                           IIInstrument 1201708442
                                                                                               Real E1tate BDOk
                                                                                           ,Deed
Please Return To:
                                                                                           IFaulkner
                                                                                            Flied: 04/27/2017 03:02 pm


                                                                                          I.
                                                                                                      County, Arkanaaa
Lenders Title Company                                                                          Crystal Taylor, Circuit Clerk
1301 Main Street                                                                               By: VICKY CURRAN, D.C.
Conway AR, 72034                                                                          . 3 Page,                 $25.00
PhoDe: 501-327~811                                                                        !
Fax: S0I-329-4962

File Number. 17-026269--3S0
1\11 deed bm prcpal undlr die lllplrVilion r:f.
1. MIiie Spllldlay, Allolrlly•tLlw
I.SOI N. Unlwrdly, Sulla 15.S
Lildoltoct.AJt'n2112
n.-ctional dall -,Jcted ~Lendcn TldtCompany

....... Jlood.-..-~
                                                                             FOR RECORDBl'S USE ONLY


                                                      WARRANTY DEED
                                                         (MAIUUBD PERSONS)

KNOW ALL l\fEN BY THESE PRESENTS:

          That, Matt Kincaid, • mtrried penon, Orantor(s), for and in conridcration of tbe sum of -TEN AND
00/100- DOLLARS--($) 0.00}-and other good and valuable consideration in hand paid by Scott Anderson and Gladys
Andersa: Orantee(s1 the receipt and 1uffic~ of which ii here.by acknowledged. do heteby grant, \>argam. sell and
convey unlo the Orantee(s), and unto their heirs and assigns forever, the following lands lying in the County of Faulkner
and the State of Arkansas to-~it:
                                                  *,husband and rife,
         Part oftbe N 1/l oftlae SW 1/4 Section 10, T-7-N-, R-14-W, Faulkner Coanty, Arkansu,
         more particularly dacrlbed as foDon:
         Commeadna at the NW Corner of the N Ill SW 1/4 of Secdoll 10, T-7-N, R-14-W, Faallmer
         Count)', Arlwu11, at a loud 3" alamtmam monument (APLS #1243) being the point               or
         bechmlng; thence along the North line of said N Ill SW V4 SSS-40'00"E 2638.18 feet to a
         set JJ2 11 rebar (Af'LS 11243) at the NE Corner o! aid N llZ SW V4; laence alq tilt Eut
         llne of uld N l/2 SW 114 Soo-ll'l8"W 15.00 feet to a aet Ill" rebar (APLS #1243); thence
         leavlq t&fd East line N88"40'00W 712.00 feet to a found 112" nbu (APLS #IW); tlaeuee
         S01946'2'"E 304.16 feet to• foud Ill" rebar (API.S #1243); theace N88•36'5"'W 186"7.32
         feet to• feud llZ" rebar (AP13 #1243) oa the Weit be of said N l/2 SW V4; tbeac:e along
         11Jd West llne N~36"E 127.12 feet to the polnt o f ~ coot,fDlna 14.4!1 acres
         more or 1-. Subject to Arbaus Sbte Wpway 285 right of way along flae Eut boanduy
         or the above desaibed property.                                                                            .
          Subject to any recorded: asessments, building lines, casem~ts. mineral reservatioos and/or conveyances. and
 Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 34 of 118




                                                                                                             /   2>1'706442 '
                                                                                                                 Ploe2af3




 restrictions, if any.


          TO HAVE AND TO HOLD the above described lands unto 1hc Grantee(,) and unto their hein and uaigns
forever. with all tenements, appurtenances, and herediwnenu thereunto belonging.
         And the Orantor(s) hereby covenant with the Grantee(s) that they will forever worrant and defend the title to the
above descn1>ed lands ogainst all claims whatsoever.
         And we, Matt Kincaid a married penon and Amanda Kintaid, bis spouae, for the consideration recited
herein, do hereby release and relinquish mto the Orantec(s) and unto their heirs and assigns, all of our right of dower,
curtesy, and homestead in and to said lands.
         WITNESS our hand(s} and seal(s) on this 24th day of April, 2017.



                                                                     tf:hi/&,;LJ
                                                                     WMiwd
                                                                     Amanda Kincaid




                                                ACKNOWLEDGMENT
STATEOF ARKANSAS                      )
                                      ) ss.
COUNTY OF FAULKNER.                   )

    BE rr REMEMBERED, that on this day came before me, the undersigned, a notary public within and for the County
and State aforesaid, duly commissioned and acting. Matt Kincaid, a married penou aad Ama11da Kincaid, bis
spouse, to me well known as (or satisfactorily proven to be) the persons whose names are subscn'bed to the .foregoing
instrume.nt and acknowledged that they bad executed the same for the consideration, uses and purposes therein mentioned
and set forth.




My commission Expires:
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 35 of 118




                                                                                          ;-..
                                                                                           f


                                                                                   D.C.
 fJ A'D 1:J-
 ,      IQIOlf    .u. Kim Br 'l'lmS.S PJt&SDl'l'S a
                  'l'bat we, William Stanley Diclceraon and wife, Nancy
        lfllllett Dickeraon, 01\AH'l'O~B, for aD4 in conaideration of the
        aua ot. Ten Dollar• and other cODaideration to ua paid by
        William Stanley Diclceraou al:M! wife, Raney K&llett Diakeraon,
        tba receipt of lfhich ia hereby aclcnowledged, do hereby ;rent,
        bargain,        ••ll and convey 1111to the said. WilliUI Stanley
        Diclceraon and wife, Nancy Mallett Diclceraon, •• tena.nta by
        the en~irety with right ot aurTivorahip, &D4 ,mto their heir•
        aod aaaipa forever, the following 4eacribed landa aituated

        in Faulkner COl&Dty, Arlcamtu:
                  Pe.rt of tbe n 11' NM' 1" of Secti01l 10, Towuhip
                  7 lforth, Range 14 Weat, more particularly
                  4eacr1))84 a• begiml.J.ug at the DOrtbeaat corner of
                  tb• NW 11, HW 1/4 of Section 10, 'l"IH, a1,w, &D4
                  run thence eouth 1,049 feet to th• cene.r of
                  county roao, thence north 89 clegre•• ,, ainutea
                  weat 291 feet, thence north 1,049 f ..t, thanae
                  eaat 291 f•et to the true point of hgi'DUing,
                  containing 7 ac111s, more or le••·
                  Thia convayanQ• i• ma6e aubject to all
                  reatrictious, reservation■, and eaa.-nta of
                  record, and. eaaementa phyaically iD place.
                  '1'0 BAVB   .um 'l'O ROLD tbe .... unto the aaid GltAN'l'BSS al:M!
        unto their heir• and asaigna forever, with all appurteDQcea
        thereunto belonging.           And n    hereby covenant wi.tb. Aid. Gl\M1TDS
        that we will forever varr&Dt and defend tbe title to •aid las>da
        agaiDat all clailla whatever.
                  And we, the <mNl'l.'OU, for -.nd in con■ ideration of aa14 swa
        of money, do hereby releaae and relinquiab. unc:o tbe                  ■ aid

        GRAH'l'BJIS all our rigbta of dower, curte■y, and baae■ tead in all4

        to aa14 lan61t.
            ""'




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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 36 of 118




                                            AC~
        STATE OP ARKANSAS
        COUNT1 OP 1"AOLICNER

             l3E I'l' REMEMBERED, That on this day ca.me before the
        undersiqned, a Notary l'uhlic within and for the county
        aforesaid, duly co111miaoioned 4ttd acting William Stanley
        Dickerson and Nancy Mallett Dickerson, to me well known as the
        grantors in the foregoing deed, and ac>::noweldged that they had
        executed the ee.me for the consideration and purposes therein
        mentioned and set fo~th.
              WITNESS my hand and seal t h i s ~ day of October, 1998.


                                                         .J, ~lie
                                                 '()'.loNot&.cy        c/2,pd,
        Jty cOl!Ullission expires     J_ /J.-,;;lO?J.        •     Malltv:1 RUJ)la. Notarv-Publo
                                                                   Fau1ko&1 County, Mr.atlsu
                                                                 My Comnmloo El(plrN2J12f@02


                                            CXRTIPICA'I'B

             The undersigned GRAN'l'BE does hereby certify, under penalty
        of false swearing, that at least the le~ally correct EllllOUXl.t of
        documentary of stampe has been placed on this instrwnent.

                                                      N~~bid:uoe
                                                 Mdren:     55~ ".'is\,u~ riSSN
                                                            ~ u u , Qf_ 1JD3/-I
        Th~n instt:Ulll.&llt prepared by:
        Or•ddy ~ Adkiaaon, f.A.
        Po#t Otf1c• B<;)X 99&                                                                      f
        Conway, AR 72033                                                                           .,
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 37 of 118




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                                                               WARRANTYDEED
                                                               Jlarriecl ,er■ oD ■

                           MOW ALL MEN BY 'l'HESE PltlSEN'l'S:

                                         _THAT R, <>scar F. Hensley and'Diana L. B•Nl~ey, huaba.nd and
               ·:,                       I         ;                              :                           '.
               ~, ..... vifaJ ,(GRAN'l'ORS),· for and in .considerittion, ot,tb&-•µa .• ~t:,.~V,B.. ,.,
                           fflOU$AND ONE RUlfDRBD FIP'l'Y AND lf0/100 DOLLARS ($12,150.00), thi•
                                         t
                           date paid oa~h in hand, by Robert G~ '. ~":"~.                                          arid T~eva s.
                           Bra~, hWlband and vife, (mwffl!!ES), the ·receipt· ~f which J.ai
                            .            C         •                                             •. • ., •· .•·                      .
               t:.·.h~r,~; acknovtedged, hereby grant,_ ba~•~•• --~•~l; :~rid_ ·c~nve! u~~
                  !\ - the ■aid GRAJITUS, end unto tbeir heirs ahd ·•••iP• forever, the
                  .. · .                 1:        -       ·                            l i_    .:   :   .:         .- :         :
                           following l&Jtd■ lying in raulJcner county, i Arlca~sils 1                              .         ·
                                         F.            .   .                  .         I: ;~· ' .                     : .
                                        !·aei119 a put of the If 1/2, NW 1/4 of•$ection 10, Township
                                          1 llarth, ltange 14 West, :raulltner: County, Al'kanaas,
                                         id••cr1be4 H beginn!NJ at the Soutbwut,oorner ~f nid
                                         •West 1/2i NW 1/4;.thence ~orth o degr••• ~5 ainut.■ ·40
                                          i.•MIOnds Ba•t along th• 11Ht line. of Mid If ·112,r=Jnf. 1/4 ·
                                         ::1307. 51 feet. to the point of beginninq; thenae·,·~ontlmaa ·
                                         -North o c!egreu 25 ainutu 40 ■econda hat 71l~21 ffft to
                                         : the centerline of a · county road; thane. • along- said
                                         icenterlin• to a point soutb 52 degrees 34; llinutes 20
  ., ..... ,.,..._ ,.... .. ,..          •..conde Baat 351.,9 t,et;, then_ce. ~ .. ~ ~~-i~~.....~-·~1. , .
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           -,,-                            de9Z"eu ,,.alnute• 47 tiecc,na■ Jlaat.U9.34·r-~, 1om1nce to
                                         ia point South 61 4egre. . 27 alnutu 43 ·••conda East
                                         :111.0& teat;. t.hence leaving uid eenur11ne:of a county
                                         ;:roa4 South 346.08 feet; thence ·Jl'orth 89, dagrea• .oa
                                         : minutes West sao .18 feet. to tbe point of begiMing
                                         '. oontainin9 6, 77 acr••• 110re or lue. Reserving the North
                                         :25.0 r-t for public road purpoa••· ·
                                          !jst7BJBC'l' ~ all right-of_-vaya, c~an~ and ~trictio~,
                                         .•:••u-nts .and all other reservations . of record.  · ·
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                   . ~o have and ~o bold the sane unto the,~_id ~~_!S,·: ~nd unto
         .; ·.• : their.heirs
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                              and aadgu forever, vith •11 app\lrt.epanc•• thereunto
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                        belonging.                                                                                  '. ·: :· ·· .. ~, .
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                                        And we hereby covenant vith
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                        varra'nt and defend the title to the said landa a9ainet all claims
                               .       ...      .              .. .     . : :. . .       .

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            .. ~i::\ri. 1rn'IJ1; .Qf. w. -~~:;;-.Q~-:5;'>;-!'!.•.~oo. 1!5. •t;~t-, . i:rnri<;1;. 1-1?.a;v.w. riil.l<l .i:ighl. .Q( .V?Y
            .. ~-:~}:-:.Z.~,j. ~.-X? -~~-t.,..l ; ~ . -~IF\;. ;i_qq.,Q.f~A,.. l;l??~. -~~.1:·l\l-;-E. "' .... .
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                            To have 11.!ld to held the urM t.ento thl'l r.iud GRANTEE. !3., 11.nd unto . .• :\:~};r:..... . ..•.....
            heir-3 and asaigll8 forevtr, with all •ppartena.nce.s tl!ereunt{) belongi'~.

                              A.lid we h~rob;y rovena.nt wtth allld GR.ANTEE.!!. tJlae we wfll fon..ver 1"12rrant .nd defend tl1e
             title to the aaid lA!:tds 11gW1$t all ¢la.ltn4 whatever.

                              A11d we, the GRANTORS, ....... .'?~~.X .~....J.~,. fi.l'!<l.~fJa!.,•.~;i.AA •.:t 1 • vf!Yl\~ •.

             • " "      ~     • • « . . . . . . . . . . . . . . . . - . . . . . . ~ . . . . . . . . . . . . . . . . , . . . .. '    • ' •• • • ' . . . . . ......... ' •              ' • ,, . . . . . . . . . . . . . . . . . . . . . . . . . .. . .   ~   ••


             for e.nd in ccl'I.Side-rat!on of the &aid aum o! money, do hereby release ADd re1inqaish unto tb.e a.aid.
             G-RAh'TEE ., . aJI our rights o{ dowor, c11rtt.,y 1:1Ud horoesta.d In t11d to the all.id llllld~.

                              V.-TI'NESS our hllllds and 5Mls oil this . •. / O.. .. cay of .. ~ - ; . ..... ..•.. , 191.                                                                                                                                   J.
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 43 of 118



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                             S T A ARKANSAS,
                                   T~F                                       !
            County of . .               . .. ... .      . . . . . • . . . . • llll .                      , :; : · . /1_ . __. ·            ·
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            ',         On this day, pcrsonalMY,             ppeY.        befort me . .. .      -~➔· .a. -~ .. _. . ...... .
            and . . . . . . . .                  .. ,    ~..              . .. . . known to me to be the pc~ons whose names :ire
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            therein conta!Iied.                                                                                     n
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                        STATE OF ARKANSAS,
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                                                                 CERTIFICATE OF RECORD

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                     T, •. ~~. Ri.OJ:tl'?F •..•.. .. .•• . .• •.•••.•.•.•. ... . .. , Circuit Clerk and Ex-Officio Reco1,!cr
      ror .:the Go\Jnly nforeutd, do hereby cuufy thnt the ll.nncxed and for:ei:-oiog fnstrument .o( wrilini;
      was !lled for record In my office on the .. H~!'I.... ~ay of ..~~r:1~ .. ........ , .. .. .. .. A. U. 19 9'Z . ,
      at     .~~:~?..... .>'clock~ •. •.M.; ::ind the snmc Is now duly recorded, with the aclmowledgmc-nt.s and
      ~rti!il~tes thereon, in "Record Book .~~ . ... :• page .. ~ ........ .
                     IN WITNESS WHEREOF, I have hereunto set my h:llld and a.ffixed the seal of ,;airl C'..¢urt,
      this · .. . -~~;~_ . . day of .. ~~~~ ... ... .. . . . . ... ,19 . 97.. .
                                                                                                 Sh&ron Rl.llmer

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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 45 of 118




  -II
        CF,.\\-\~541~\            -                            -
                                   WARRANTY HG
        MAXINE HcMILLEM                                                 GRANTOR

          TO
        MICKEY DOYLE McMILLEN and wife,
        TAMHY LOUISE McHILLEN                                       GRANTEES

        KNOW ALL HEN BY THESE PRESENTS:
             THAT I, Ma~ine McMilleh, GRANTOR, being of lawful age and a
        widow, for and in consider&tion of the aua of Ten Dollars
        ($10,00}, and other good and valuable consideration paid by
        Hickey Doyle McKillen and wife, Tam11y Louise McMillent GRANTEES,
        the receipt of which is hereby acknowledged, do hereby grant,
        bargain, sell and convey unto the said Grantees, and unto their
        heirs and assigna forever, the following described lands situated
        in the County of Faulkner, State of Arkansas:
            TRACT t2:
            The South half of the Southwest Qu~rter of the Northwest
            Quarter of Section 10, Township 7 North, Range 14 West,
            20 acres, more or lees,
                TO HAVE AND TO HOLD the same unto the said Grantees, and
        unto their heirs and assigns forever, with all teneaentSt
        appurtenances and beredita~ents thereunto beloniing,

             And I do hereby covenant with tne said Grantees, their hei~s
        and assigns, that I will forever warrant and defend the title to
        said property against the lawful claims of all persons
        whomsoever.
             And for the consideration and purposes herein mentioned and
        set forth, I, Maxine McMillent the Grantor, do hereby release and
        relinquish unto the said Grantees,      their heirs and assigns, all
        my right 1 title, claim and possibility of dower and homestead in
        and to the above described real property.

        1993.
                WITNESS my hand and seal this     Z~day . of    t11.y         ,

                                             ~ 7JJ e. ~
                                             MAXINE McMILLEN
                                  ACKNOWLEDGEMENT
        STATE    OF ARKANSAS)
                            )SS
        COUNTY OF FAULKNER)
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 46 of 118




                                 -                                                      -
                                  WARRANTY DEED

     MAXINE MCMILLEN, A SINGLE Pt:RSON                                                  GRANTOR

      TO

     MICKY MCMILLEN AND WIFE, TAMMY MCMILLEN                                            GRANTEE


     KNOW ALL MEN BY THESE PRESENTS:

            THAT Maxine McMillen,    GRANTOR,              single person for and i

      consideration of the sum of Ten Dollars ($10.00), and other goo

      and valuable consideration paid by Micky McMillen and Wife, Tamm
     McMillen, GRANTEES, the receipt of which is hereby acknowledged,
      do hereby grant, bargain, sell and convey unto the said GRANTEES,
                      .
                      I

      as   tenants   by the entirety and unto ·t heir hei:rs
      forever, the following descr i bed lands situated in the County o
      Faulkner, State of Arkansas:
                                      oO \ ... \~541-- OCIQ
            Being part of the SW 1/4 NW 1/4, Section 10, T-7-N, R-
            14-W, Faulkner County, Arkansas, described as beginning
            at a point 660.0' North of the SW corner of· said SW 1/4
            NW 1/4; thence continue North, 647.51'; thence E 1320.0
            feet, thence S 647.51' th.enct~320' to the point
            of beginning containingfu.6=~more or less.
                                  O'\, -\~S41-~14 ~
            Also a part of the W 1/2 NW 1/4 Section 10 T-7-N, R-14-
            W Faulkner County Arkansas more particularly described
            as beginning at a point 1307.51' N and 1080.87 E of the
            SH Corner of said W 1/2 NW 1/4 thence N 276. 0' to the
            centerline of County Road,     thence E along said
            centerline 60.0', thQnce leaving said centerline S
            276.0' thence W 60.0' to the point of beginning
            containing 0 . 3 2 _ ~ or less, making a total in
            the aggregate o ~ more or less.

            TO HAVE AND TO HOLD the same unto the said GRANTEES, and
      unto their heirs and assigns forever, with all tenements,
      appurtenances and herediteruents thereunto beloncri.na.
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                 Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 47 of 118




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                                    STAN AND CONNIE McMILLEN                                                     GRANTORS
                                    TO
                                    MlCKl!.i' M~l\fiLLEN                                                         GRANTEE


                                    KNOW ALL MEN BY THESE PRESENTS:·

                                             THAT WE, Sta11 and Connie McMUkn, GRANTORS, for and in consideration
                                    oftbo sum of Ten Dollars ($1.0.00) and 01bet gooo ~d valllllble consideration pllld by
                                    Mkkey McMillen, the receipt of which- i5 h=by acknowle:dged, do hereby grant.
                                    bargain, sell and convey unto the said GRANTEE. u.nd unto his heirs and assigns forever,
                                    the following described lands situalc:d in the Co1D1ty of Faulkner, State of Arkansas:
                                                       Bela: • part <it tht W Y, NW ¼ o! Seetiori 10, T~7-N, R-U-W,
                                             f•11ll<ntr Cou:ot,, Arbnut; de:sc:ribed u be~or04: at tac 'SW comer or
                                             awd W ½NW¼ orSediou 10, T-7-N, R-14--W; tbeou N 00 dqt!UI 2S' ~"
                                             E 007.Sl fttl; thence S 89 dtgne. 08'00" E 1080,87 fut fo fbe poi.DI of
                                             begl.nnuig; thence C011tl11oe S 99 dq:m:i OS'00" E l39.13 f~t or to tbi: SE
                                             cori>er of the NW ¼ NW 1/.; thtnc,c North 280.00 fm to tlie ecutcrliao of
                                             Slatey Gap Road; thence alone n td centerline -mstwardly 179.13 feet1
                                             1hcoc-e continn along 1al!l centerline N 89 d~rc-es 08'00" W 60.00 feet;


                                                                                                              -
                                             thcRCo Soulia 276,00 feet to 1be y,olnt or b~no.Iot contalnl~ 1.52 acres
                                                mon: or less.


                                             TO HA VE AND TO HOLD the same unto the said GRANTEE, and \Into bis hein
                                    and assigns forever, with all tenements, appuncnances and hem:l\1aments \hereunto
                                    belonging.
                                                And we do ha-eby oovenant with the said GRANTEE, his bcin and MS.lgns, that I
                                    will forever warrant and defend the title ti:, said property sgainn the la-wful claims of all
                                    persons whomsoever.
                                                And for the consideration and purposes herein mentioned nnd set forih, the
                                    GRANTORS, does b.c:ruly rcleas(; and relinquish unlo the said GRANTEE. bis heirs end
                                    llSSigo.s, all their right, title and claim of dower and homestead in and to the above
                                    descnoed real property.
                                                WITN~S my hand and sea11his /~•-Ji.. day of    Q;_ [LLLJ(j; r ,2001.

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                          Mr IP.R9/2illl
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                                                                            STAN McMILLEN, GRANTOR
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                    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 48 of 118



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                Section 10, T-7,N. R-14-W,                                                          N&rn'.ne-JY J'.!<LSl:J'                 l                 ,l                   l Section 1
                Co:,,....ay County, M.ansas                                              Paa     N89"29'2r W 613.58' ( ~ 2 ~                       __J __ f                                Conway 1
            f                                S8S'29'30'E 697.57'                         5;E_ - - - - -              -N.~A'--·:~~-=-
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   _ 110, T-7-N, R-14-W,
    _yCounty,Ari<ansas                                                    se.9•1.:rto•E tS7"4.B2'                          - - - --              -- --




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                Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 49 of 118



Instrument# L201800121 Paqe l of 3
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        Please Return To:                                                            #';_rf\'tOfllft~
                                                                                     ' -~~1:,9:)~~          CERTIFICATE OF RECORD
                                                                                            ~-'!'~"~        FAULKNER CO, AR FEE $25.00 ;
        Lenders Title Company
       1301 Main Street
       Conway AR, 72q34
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                                                                                                            RECORDED: 0l.0~2018 03:03:43 PM
                                                                                                            CRYSTAL TAYLOR
                                                                                                            Cil~CUIT CLERK
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       Phone: SO 1-327-6811                                                                                 BY: IJZ BAUMGARTNER. D.C.
       Fax: 501-329-4962                                                                                    DEED
                                                                                                            3 Pages
       File Number: 17-0269M.3SO
       This deed form prepared wider lhe supc:rvl.sfon of:
       J. Mui.: Spradley, Attorney ftl J..1w
       !SOI N. Unlvcnity,Snile JSS
       Little Ro::.k, AR. 72202

       Tr=i;tlol'llll data aimpletcd by Leodul Title CompJlllY

       \V""""7Dood-!,w,itdhnca ~.nr

                                                                                          FOR RECORDER'S USE ONLY


                                                                 WARRANTY DEED
                                                                     (MARRIED PERSONS)

       KNOW ALL MEN BY THESE PRESENTS:

                    That, Brandon Carpenter and Latisha Carpenter, a married couple, Grantor(s), for and in consideration of
       the sum of -TEN AND 00/100- DOLLARS--{Sl0.00}-and other good and valuable consideration in hand paid by
       Jamie· Stires and spouse, Bryan Stires, Grantee(s), the receipt and sufficiency of which is hereby acknowledged, do
       hereby grant, bargain, sell and convey unto the Grantee(s), and unto their heirs and assigns forever, the following lands
       lying in the County ofFaulkner and the State of Arkansas to-wit:

                   Part of the NE 114 NW 1/4 Section 10,.Townshfp 7 North, Range 14 West, Faulkner County,
                   ArkonsaSt described as follows: Beginning st the Northeast corner of said NE 114 N\V 1/4; run
                   thence Sonth 00 degrees 51 minutes 49 seconds East along the East line of said NE 1/4 NW 114,
                   341.8 feet; thence West 47L66 feet; thence South 00 degrees 57 minutes 51 seconds East, 607.29
                   feet to the North right of way ofa County Road; thence South 85 degrees 05 minutes 55 seco11ds
                   West along said right of way, 436.61 feet; thence leaving said right of way North Odegrees 41
                   minutes 29 seconds West, 500.58 feet; thence West 420.0 feet to the West line of said :NE 1/4 NW
                    1/~ thence North 00 degrc:.es 41 minutes 29 ~conds West, 485.04 feet. to the Northwest corner of
                   said NE 1/4 NW l/4; thence East 1323.34 to the polnt ofbeginnln~.
                   Less and E::1C1:pt:
                   Part of the NEl/4 NW 1/4 Section 10, Town.ship 7 North, Range 14 West, Faulkner County.
                   Arkansas, more particularly descrtbed as starting at the Northeast corner of said NE l/4 NW
                   1/4; thence along the West ~ine ofsald NE 1/4 NW 1/4 South 00 degrees 51 minutes 49 seconds
                   East, 34L80 feet; thence leaving said West line West 471.66 feet; thence South 00 degrees 57
                   mibutes 51 seconds East, 607.29 leet to tbe North right of way ofS1atey Gnp Road; thenceslong
                 Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 50 of 118



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                     satd North right of way South 85 degrees OS minutes 5S seconds West, 336.36 feet to tlte poJnt of
                     beginning; thence continuing along said North right of way South 85 degrees OS minutes 55
                     &'econds West, 100.25 feet; thence leaving said right of way North 00 degrees 41 minutes 29
                     seconds West, 444.17 feet; thence East 100.() feet; thence South 00 degrees 41 minutes 29 seconds
                     East, 435.60 feet to the point of beginning.

                     ~ul;iject to any record~: as$eS$1I).ents, building lines, easements, mineral reservations and/or conveyances, and
        restrictions, if any.

                     TO HAVE AND TO HOLD the above described lands unto the Grantee(s) and unto their heirs and assigns
       forever, with all te.nements, appurtenances, and herc:ditaments thereunto holonging.
                     And the Grantor(s} hereby covenant with 1he Grantee(s) that they will forever warrant and defend the title to the
       above described lands against aH claims whatsoever.
                     And we, Brandon Carpenter and Latisha Carpenter, a ma.rr1ed couple, for the oonsideration recited herein,
       do hereby release and relinquish unto the Grantee(s) and unto their heirs and assigns, all of our right of dower, curtesy,
       and homestead in and to said lands.                                  ;
                     WITNESS our band(s) and seal(s) on this                ::;l1     dny of December, 2017.


               I certify under pennlty of false =ruing
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               symbol in th~ legally C-OllCci. emount has
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               GRANTEEORAOENr: ~_,~......._-""""""'"...,...,..-------
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               GBAfl"TEE'S ADDRESS: 24 Slulcy Oap Rd.
                                    Damascus, AR 7l039


                                                                           ACKNOWLEDGMENT

        STATE OF ARKANSAS                                     )
                                                              )      ss.
        COUNTY OF FAULlCNER                                   )

          BE IT REMEMBERED, 'that on this day came before me, the undersigned, a notary public within and for the County
        and State aforesaid. duly commissioned and acting, Brandon Carpenter and Latisha Carpenter, a married couple, to me
        well known as (or satisfactori.ly proven t.o be) the persons whose names are subscribed to the foregoing instrUment and
        acknowledged that they had executed the same for the consideration, uses and purposes therein mentioned and set forth.

         2'Jl~ TESI'IMONY WHEREOF,                            I""'" bm~]                     ,n~               Q_q   day of D.,ember,


                                                                            No      Public
         My commission Expires:

                                APl!ll MATHE$
                            Nota1y Publlc•A1tonsos
                                 FO!))kne, COUOl)'
                    My Comrnls,lon Expires 09-18-2025
                  .....__,£_r>tr1ml_!SlQ.n ti 12695496
            Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 51 of 118


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                                                    WARRANTY DEED                                                                                                                                 llI\
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                                                                              UNMARRIED PERSON
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              KNOW ALL MEN BY THESE PRESENTS:
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·I                      THAT .... .. .........Gb.~.rl.o.t.:t.l;!.. .,M.•...1y.k.e .................................................................................. _._.....
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11                                                                                                                                     ... ........., an unmarried person,
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u            for and in consideration of the sum of.. ....Te.11... nolla r .s . .and ..a.th.er. .£.011s.i.de.r.a.t.ion.......... .
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             ..................................... ........ ........ ............. .............................. ........ .... ............ ...... .... ........... ·-········ .... . ~~   .     jt
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!'           paid by .. .. ..... ..............To.mmy...ll~ ... K.ir.kpatr.ick ... .... .. . .... .................. ... .
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 l           the receipt of which·is hereby acknowledged, do hereby grant, bargain, sell and convey unto the said

~                                   ............. Tommy .D •. .. Kirkpatrick                             ......
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~
             and unto .. ......     12t~...........heirs and assigns forever. the following lands lying in the County of .......... .                                                              I
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                ..... .. . .......... J .~~~.;~~~······················-· ...·- ·········-·· ........... ................ .... and State of Arkansas, to.wit:                                      I
              .....r.~_r.1 ... 9.f_.th.~..BIL.lL.4._iiW__,I..1A,._..S.~.c:.1.iruJ.....l.0... _.1..o.~ns.hip....Z...Na.:c.t.h.,_..Rang.e.-1..4                                                      I
 I.                West, Faulkner County, Arkansas, described as beginning at the NE
             ·-··corner of .. said NE.. 1 / 4-· NW 1.L.1 .;.__-i;.lrnn~~-···?.lP.ng ...1.h.~.-e.a.tt...line_.o.f._s.ai.d.                                                                          !
 I                 NE 1/4 NW 1/4, south O degrees 51 minutes 49 seconds east 341.08                                                                                                                !

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 I               west 150. 0 feet; thence south. o.. de.grees._51. minutes . 49. seconds east
                 'Z1f2. 5lr Feet to tne nortn right-of-way of a roa:d; thence along said
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                 right-of-way south 85 degre.e~_Q~__ .minutes ss ...seconds._wes.t .... 296.. 46 ...
              ··-Te·et:·;• ..·The·n"ce··Te-aviii:g"-s·aTu..1TgKt-of-way north o degrees 51 minutes
                  49 seconds west 605.14 feet; thence . east ... 445 ..76 ... feet_to __ the.. _point
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              ·-6"f...o1fgirin.Tifg-;--ccinta.Tn.Tffg·--s·~·-o· .. acres, more or less.                                                                                                           11
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                   Charlotte M. Lyke as husband and wife. Said Walter Frederick Lyke
  I           ... _<i:i~d ... o.n ...o.r _..a.bQ.ut....Se.p.t. .. _. 8..... 19.&.0 ..1 .e a:v.ing ...Ch.ar.lo.t .te ... hL. ...Ly.ke..-the.-So.le
                   owner of said property.
,j                      To have and to hold the same unto the said ....................... .............................................. .

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               ..................................Tommy .D •... Kirkpat,:i;::i,s;k.............. ................ ...................... ............................... ..

 \!          and unto........h.i.$, ...................heirs and assigns for:-iver, with all appurtenances thereunto belonging .
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                         And ............L ................hereby covenant with said ........Tommy.... D.~···K.ir.kp.atr.i.ck ............. .

 ,J'         ···············-·················· ········································· ·.. •·······that ....... J. ..............will forever warrant and defend
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             the title to said lands against all lawful claims whatever.

                         WITNESS......l_l!Y....... hand...... ,. and seal. ...... on this .. d,2 ..... day oL ...Q.c;:..t<?.1?.~.:r.. ..........••198.S..,
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                       Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 52 of 118



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           iiII              I, .................. :UXX..GtalER ................... , Clerk of the Circuit Court and Ex-Officio Recorder for
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          p            the County aforesaid, do hereby certify thi.t the within and foregoing instrument of writing was
           ·I                                                                                                                                                                                          ::
           li          filed for record in my office on ihis ........?.t:h .........day oL ...........J~:V.~Z: ......... ................ A. D. 19 ..8.5                                               :!
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                       at ......... ~.;Je........ o'clock ......A ........ . M., and the sam~ is now duly recorded, with the acknowledgments
                                                                     Deed
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            I          and certificates th~reon, in ';Record Book ........ } .~.?. ........," Page..........?.~~·········
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           I!                                IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed the seal of said
                                                                                                                                                                                                       i1
           II                                         Court, this .............8th.........day oL ..... No.verrb.e.+:................................ .................... 19 .... 85                  !:
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        Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 53 of 118


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                  !!                                      WARRANTY DEED
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                         W. FREDERICK LYKE (DECEASED) AND WIFE,                              GRANTORS
                         CHARLOTTE H. LYKE
                                TO
                         TOMMY D. KIRKPATRICK                                                GRANTEE


                  :. KNOW ALL MEN BY THESE PRESENTS:

                          THAT We, W. Frederick Lyke (deceased} and wife, Charlotte M.
                    Lyke, • GRANTORS, being of lawful age and married, for and in
                    consideration of the sum of Ten Dollars ($10.00), and other good
                    and valuable consideration paid by Tommy D. Kirkpatrick, GRANTEE,
                    the receipt of which is hereby acknowledged, do hereby grant,
                    bargain, sell and convey unto the said Tommy D. Kirkpatrick, and
                  : unto his heirs and assigns forever, the following described lands
                  Lsituated in the County of Faulkner, State of Arkansas:


                                Part of the NE1/4 NW1/4 of Section 10, T-7-N, R-14-W,
                                Faulkner   County,   Arkansas,  des er ibed as  fol lows:
                  •:
                                Commencing at the NE Corner of said NE1 /4 NW1 /4; run
                                thence SO degiees 51 minutes 49 seconds E along the East
                                Line of said NE1/4 NW1/4 341.0S feet; thence West 445.76
                  i:
                  I,
                                feet to the Point of Beginning; thence SO degrees 51
                  I:
                  ::            minutes 49 seconds E 605.14 feet to the North right-of -
                  H             way of a County Road; thence S 85 degrees 05 minutes 55
                  p             seconds W along said right-of-way 25,0 feet; thence N 0
                  :lJi          degrees 57 minutes 51 seconds W 607.29 feet; thence East
                  ;·
                                25.9 feet to the Point of Beginning, containing 0.345
                   I
                                acres, more or less.

                               To have and to hold the same unto the said Tommy D.
                         Kirk.pa.tr i.~k, and unto his heirs and assigns forever, with all
                         tenements, appurtenances and hereditaments thereunto belonging.
                                And we hereby covenant with the said Tommy D. Kirkpatrick that
                         ' we will forever warrant and defend the title to said lands against
                         , all lawful claims whatsoever.
                                And We, W. Frederick Lyke (deceased) and wife, Charlotte M.
                           Lyke, for and in consideration of the said sum of money, do hereby
                         !release and relinquish unto the said Tommy D. Kirkpatrick, and unto
                         . his heirs and assigns forever. all our right and pos~ibility of
                         i curtesy, dower and homestead in and t.o the above described real
                           property.
                      Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 54 of 118


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                                                                                        WARRANTY o •:ED
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          KNOW ALL M.tN HY TIIF,SE l'~SCN'f1$:
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          unli'.l J1is l1¢irs-and,as,.1g1is fi.Jfd,,..cr, 1h~ follm~ing lan1h l_yi1i);! in lh<: (oimty of Fa1tlk~-r 11:111 l11e-s·1:i.h:-<'•f _,\r,J,;an!lttS to-wit'.


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         Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page
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               Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 56 of 118


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                                                       DEPARTMENT OF F~~CEAN,Q Al)M.lN ISTRAJ~ON
                                                             MISCELLANEOUS TA-X SECTJO,N
                                                                 P-.0. BOX 896, LITTLE ROCK, AR 72283-D-89,6



                                                                   Real Estate Transfer Tax $tamp                                                                                             ~Billlfi
                                                                                                          Proof Of T8)( 'Pald
                                                                                                                                                                                         l!lJ1~mriU:
                                                                                                                                                                         File Number.: 14.007692--100

   Grantee:                                                      RYAN LOVELADY
   MaiU119 A~res-s~                                              4 SLAiEY GAP ROAD
                                                                 DAMASCUS AR 72039-0000



  ·Oran tor-:                                                   ROYWEST
   Malling Address;                                             922 PLEASURE VALLEY
                                                                LITTLE ROCK AR 72"2.0009()0




  Propttlty Purchase Price:                                                                                                5134.700.00
   Tax A.mot.mt:                                                                                                               $445,50

  County;                                                                                                                  FAUL~R
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 58 of 118




          15288                                                Doc-#2811- 15869


      Tf11S INSTRUMENT PREPARED BY GORDON, CARUTH & VIRDEN, MORRILTON, ARKANSAS


                                QUITCLAIM DEED

  KNOW ALL MEN BY THESE PRESENTS:

        THAT I, Phyllis McMillen, for and In consideration of the sum of ONE DOLLAR

 ($ 1.00}, to me paid by Stan McMillen, do hereby grant, sell and quitclaim unto the said

  Stan McMillen and unto his heirs and assigns forever, the following lands lying in the

 County of Faulkner and State of Arkansas, to wit:

        TRACT 1: The West Half of the Southeast Quarter of the Northwest Quarter (W 1/2
        SE 1/4 NW 1/4) of Section Ten, (10) Township Seven (7) North, Range Fourteen
        (14) West, Twenty (20)acres, more or less.

        A part of the Southeast Quarter of the Northwest Quarter (SE 1/4 NW 1/4) of Sec-
        tion Ten, (10} Township Seven (7) North, Range Fourteen (14) West, described as
        beginning at a point which is 958.32 feet North of the Southeast Comer of said
        Southeast Quarter Northwest Quarter (SE 1/4 NW 1/4} and run Thence West 315
        feet; Thence North 21 o feet; Thence East 315 feet to the East line of said Southeast
        Quarter Northwest Quarter; (SE 1/4 NW 1/4) Thence South along the Ea&t line of
        said Southeast Quarter Northwest Quarter (SE 1/4 NW 1/4) 210 feet to the point of
        beginning, containing 1½ acres more or less.

        Being part of the Northwest Quarter, (NW 1/4) Section Ten, (10) Township Seven
        (7) North, Range Fourteen (14) West, Faulkner County, Arkansas more particularly
        described as beginning at ttle Southwest Comer of the. Northwest Quarter, thence
        North 1307.51 feet. thence East 1140.87 feet lo the point of beginning, thence con-
        tinue East 179.13 feet to the Northwest Comer of the Southeast Quarter Northwest
        Quarter {SE 1/4 NW 1/4) Section Ten. (10) thence East 660.0 feet. thence South
        1320.0 feet to the South line of said Southeast Quarter Northwest Quarter (SE 1/4
        NW 1/4) thence East 160.0 feet; said point being 500.0 feet West of the Southeast
        Corner of said Southeast Quarter Northwest Quarter (SE 1/4 NW 1/4) ; thence
        North 958.32 feet. thence East 185.0 feet, thence North 210.0 feet thence 315.0
        feet to the East line of said Southeast Quarter Northwest Quarter (SE 1/4 NW 1/4)
        said poi,t being 1168.32 feet North of the Southeast comer of said Southeast
        Quarter Northwest Quarter,(SE 1/4 NW 1/4) thence North 151.68 feet to the North-
        east Comer of said Southeast Quarter Northwest Quarter (SE 1/4 NW 1/4) thence
        West 140.0 feet, thence North 381.19 feet to the centerline of a oounty road, thence
        along said centerline to a point South 85-05-55•W 1184.33 feet to a point on the
             Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 59 of 118




                                                    ACKNOWLEDGMENT
              STATE OF ARKANSAS             )
                                            ) ss.
              COUNTY OF        9J N lil.4 'I )
                    BE IT REMEMBERED, That on this day came before me, the undersigned, a notary
             public within and for the county aforesaid, duly commissioned and acting. Phyllis McMillan,
             to me well known as the granter in the foregoing Deed, and stated that she had executed
             the same for the consideration and purposes therein mentioned and set forth.

                                                                                                  zl'-day of September,
              2011.                                     CJ
                      WITNESS my hand and seal as such Notary Public on this


                                                                                       ;._. c;., d1~il--~~~~,__
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                                                                   ry Public

             My commission expires:
                      ,5:-Y-l" le)
             No real estate transfer tax is applicable to this instrument under Ark. Code AM. § 26-60-102(7)
             as an instrument given by one (1) party in a divorce action to the other party to the divorce action
             as a division of marital property whether by agreement or order of the court.


     1 CERTIFY UNDER PENALTY OF FALSE SW£M1M.
     rHAT AT LEAST THE LEGAl.lY CORIECT AMOUNT 01
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 60 of 118




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                                                      ftR 131.81
                                                      By _ _ _ _ _ _--"'-_ ___,I>. C.
                               WARRANTY DEED
     mow ALL MEN BY THESE PRESENTS:
            'l'hat ... , Betty Harqron, an unmarried person, Dean Hargrove
     and wife, Sarah Hargrove, Larry Bargrove and wife, Oma B&rqrove,

     G.RAlft'ORS,    for and in oonsider~tion of th• swa of' Ten Dollar•

     ($10.00)       and other con.siderati.on, to us paid by Lal:,:y Bargrov•

     and Oma Hargrove,        husband and wife,   GRANTEES,         the receipt of

     'Which i• her6by aclcnowledgad, do hereby grant, bU'(Jain, sell and

     convey unto 1:he ••id Larry Hargrow and Oma Rar;-rove, huabarsd and

     wife, as tenanu by the entirety with right of sw:vivor•hip, and

     unto their heire and assigns forever,          the f'ollowinq described

     l.anda in l'ADLJQtER. County, Arkanaae:

           Part of' the Ntl 1/4 HE 1/4, Section 10, Townahip 7
           North, Ra.np 14 West, deacribed as beQ"innL.nq at the
           northwest corner of said 11W 1/4 NB 1/4, thence ... t
           306. 92 feet to the west right-of-way of State Highway
           1285; thence alon9 said right-o:t-vay aouth 13 degree•
           26 m.nute• 39 •econds east 219.98 feet: thanoa south 04
           degzee• 37 ainut•• 45 ••conda ..... t.117.71 feat; thence
           eoutb 12 4egr••• 22 llinutes OS se001lds west 190. 30
           ~•at; theoce south 11 degree• 51 llinutea 31 •econds
           ... t. 280.59 f - t ; tl\ence south 18 dag:r. .• '5 mimlte• 15
           second.a weat 237. 72 f••t to the interaection o~ eaid
           right-of-way with the north right-of-way of a COUDty
           road; thence alon9 said riqht-of-way north S1 ~ •
           22 alnute• 45 ••cond.9 vect 88. 57 .teet; thence north 39
           • ~ • 17 minute• 56 •.aonchJ IMSt 135.53 feet, said
           point being- on the       ••t       line of said MW 1/4 NB 1/C;
           thence along said wast line north O dacJree• 51 minutes
           49 aeconde weat. 916.68 f••t. to the poi.lit of heqinning,
           contai.ning 6. 7 9 acres , Jll0:11:e or leas.
       Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 61 of 118



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                     Said land.a were owned by Lucille llargrov. who died
                     Ulllllarriec:l and intestat.e, in Faulkner County, Arkansas,
                     on Nay 31, 1981, leaving surviving aa her only heir• at
                     law, her three children, Batty Buqrova, Dean Hargrove
                     and Larry Hargrove, all grantora herein.

                     'l'hia conveyance ia made subject to all . dghta of way,
                     covenant.a and Natricti.ons, eu....nts and all other
                     reser,rationa of record and physically in place.
                 'fO BAVB AND TO ROLD the same unto the said GRANTEl:S and unto

            their hair• and assigns forever, with all a.ppw::tenancea thereunto
            belonging.      And we hereby covenant with said GRANTEES that we

            will roraver warrant and defend the title to aaid lands against
            all claims whatever.
                 And we, the GMNTORS, for and in consideration of said sua

            of money, do hereby release and relinquish unto the •aid QRAN'l'EES
            all our riqht.      or dower, eurtesy, and ho. .atead in and to said
            lands.

                 WITNESS our hand.a and aeal.s this October     {o fu , 2D10.




                                                       Sarah Bax-grove


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      Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 62 of 118



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                                                                     ACJCNOWLEDGMENT

           Sftff O!'                         ~
           COON1'Y O F ~

                Bl IT RP.HENB&RED, That on thia day caJll8 before the
           undersigned, a Notary Public witlun 11.nd for: the County ~oraaaid,
           duly C!Ommiasion.ad and aating Betty Karg.rove, to me wall lcnown ••
           one o~ tha g.rantora in the foreqoing deed, and acknowledged that
           abe had execut•d th• eame for the consideration and pu,:poses
           therein mentioned and     forth.                        ••t                       +-
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                                                                                                of O~elto
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                                                                     ACKNONLEI>GMENT



          COUNTY OF

                              BE         IT            RBMBMBERED,        That   on    thia       day    ca.ma   before   the
          undar•ivned, a Notary PUblic within and for the County ~oreeaid,
          duly COJIJl.isaioned and actinq Dean Bugrove and Sar.ii Hargrove, to
          ma well Jcnown •• two o~ the grantor• in the f'oreqoing deed, and
          acJcnowledgec:1
          consideration and purposes therein
                                                         that      they    had
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                                                                                                    and set forth.
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 63 of 118



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                                                  ACKNOWLEDGMENT

     STATE OF ARKANSAS

     COUNTY OF FAULKNER
         BR IT REMEMBERED, That on this day came before the
    undersigned, a Notary Public within and for the· County afor9said,
    duly commissioned and acting ta:r.ry Hargrove and OJM Hargrove, to
    me well known as two of the grantors in thEI foregoing deed, and
    acknowledged   that  they   had    executed   the  same.  for  the
    consideration and purposes the rein mentioned and set forth .

               WI'l'NESS my hand and seal this                               /.aib.. day of October, 2010 .
           I
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                                                      CERTIFICATE
               The       undarsigned GR.:a.NTEE              do... s       hereby                 ce:ctify,    undar J)Ql'lalty of
     £alee swea.ring, that thia conveyance i a betwean family ~8.lU:>8r& with no
     consideration paid ~nd no documenta:r:y atamps rc;,quired on this doCWS1ent.

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                                                                                                                                     ~
                                                                       Addreiss:                     484 Highwar 41285 North

                                                                                                     Damascus, AR 72039


     This instrumgnt prepared by:
     Graddy~ Adkisson, J.LP
     Post OffiCQ Bo~ 996
     Conway, AR 72033                                      ,._\,,,,,n,rn,,,,,,,,, CERTIFICATE OF RECORI>
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    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 64 of 118




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      Gt,ater: 0.'111 ~uc Huarow. Tniltet of De Lari')' aed 01111 ltaqrow Livia& Tnm. dated Decnaber 3, 2015
      Gnate: Dnld £-,me Harirove
      1\ls IIISlnl..a Waa PnplNd                                                           CERTIFICATE of RECORD
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      C.■way, All 72034
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      atlMllll                                        File¢ 11/15/2018 08:30 am
      C■■WIY, All 1lGM                                Fau!knerCcunt)', Arlcanlal
      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Rhonda Wharton, Circuit Clark
                                                      By: o,ana Varner, o.c.
                                                    OillTCLAIM DEED                         6 Pages            $35.00


      KNOW ALL PERSONS BY THESE PRESENTS:

               THAT I, David Eugene Bargrov~ Trustee of the Larry and Oma Hargrove LMag
      Trust, dated December 3, 2015, hereinafter known as GRANTOR, for and in consideration of
      the sum ofTcn Dollars (S 10.00) and other good and valuable consideration. .in hand paid by David
      Eugene Hargrove, lndM.dually, hereinafter known as GRANTEE, the receipt of which is hereby
      adatowledged, do hereby grant, sell. quitclaim and release any and all interest in our right, title,
      equity and estate Wlto said Grantee and tmto his heirs and assigns forever, in and to the following
      described lands situated in Faulkner County, Stale of Aikansas, to-wit:


                                                 ~e Schedule "A,. attached heuto


              To have and to hold unto Grantee. and unto its heirs and assigns forever, with all tenements,
      appurtenances and hereditaments then:wuo belonging.
              In Witness Whereof. I have hereunto set my hand             tms&b!'day of Ct:Joh4:
      2016.


                                                                 ~ .
                                                                   David E u g e n c ~ r u s t e e
                                                                   Of The Larry and Oma Hargrove Living
                                                                   Trust. dated December 3, 201 S




                                                                                   -··   ·-· - -- -----------
        Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 65 of 118




                                                                                                                    2ll161'7913
                                                                                                                    Psge 2of5


                                                              Schedule A
           Tract I: SW ¼ NE~ SECTION 10, TOWNSHIP 7 NORTH, RANGE 14 WEST, fAUU<NER COUNTY, ARKANSAS
           CONTAINING 40.14 ACRES MORE OR LESS.                                                                      '

          LOT 27, PAUL BRANNON HIGHWAY SUBDIVISION, AS SHOWN ON PLAT OF RECORD IN BOOK C, PAGE 53
          PLAT RECORDS OF FAULKNER COUN1Y, ARKANSAS.

        An inat~ of tnt E1/2 ~a.ouoo·t, T ~ 1 Norih,RMlQl-14-YHt, ),iilgSoutll ofiht OltiWJk,i
        of ~ eturt,J RAc11 a)d al1b&t part of tilt £112 ofs.otion 17, T ~ 7 North, Ra9 14Yffl, ~bi
        Hri ~ ~ CrMk~ I total of tZ1 acrd, n:aort or }es.s. Sttuatff iD Fau1'ntr ~                  , ArbnAs.
        St#,jlot tD an ~     of Yav, oovtoaats aoc1 rntr toHons, fflfMfflU .and an otblr rtArYlt1onS of rtoelf"d.


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                                                 ~~~'Jmi . )i
                                           noHliwes &:mier of snd NB fl!•
   ~~~ ~-t'v!l:.ttt of i n t e r s e c t i o ~ e of Said NB 1/4 and of                         .. i:i · .
                                                                                                                    aqh·.'.\
   Iof St ate ~ ",;ay,-l-l8i.-and-ftift.-theTiee-ee:s-t-%4-.-6&-£~-sOttth 500-ffe
    He!rt ZZl .OB~~-io:lhe.....east line of .said ..stat e-H~~
   10£ said. hi

    mof~o.r ess,
                                         . ·      on...t.oJ:he. ,paiot nf beginning. conta.~-
                                         a..Parcel of J ,m;l_des§I~ as fQ.Uows: Prem        ·
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   i~~r               a l : ~ d - r . t ~ ~ - h n e··a - ~        3-feet:-to~
                        • ....tnence....conUnue-al~d--e~igh~                        :mx.e 0£.loll.
   ;~€e~ce ~MJ: ..~S- mt.L...th~.w:umtlhwriil~.10!.Lfeet.~el..l'ti tb sa1 d....eas.t...riR:ht~y
    ffiie;tlience west-43S feet to the ~int of beg_~,.¢.:_!a.i.d exc~tl.on, sai<f~on
   ;cmmrt:rttl~g--·<5n~-m::n;7oore or less; ~ :-1-:~v~ nine acre$, ioore or· 1ess, here                                    eY"?'1

    Part of the Nia NE% of Seetioa 10, :Ibwsb.ip .7 North.,, Range 14 West. mre definitely
    described a s ~ at a tx>int 6.34 chains Fast md 3.17 chains North of the
    Si.ccxmer of said~ NE% aod ;run Wef;lt 3.25 chains to the East boundary line of
    the Com;ay---Damascus .Highway; thence Nortl:neam• with said higbwsy, as follows:
    North 20 degrees East S.00 cbafus; thence North 10.00 degrees East 8f50 chains
    thence ?brth 6.00 degrees East 2 chains; thence North 5 degrees West 1.50 c.bains;
    thence North l3 degrees West 1175 cha1ns to the lbrth line of said Section 10,
    at a point 5.90 chains F.ast of the~ corner of said~ NE\; tbence Eaat 35.30
    chains to tM NE corner of said ~ ~ ; thence South 20.00 chains; thence West
    33.87 chaics; thence North 3.17 chains to point o£ beg:1nnins, conte1n1ng 70 acxes,
    LESS A5D    ™     the following described tract; l3Egin at a point 368.61 feet
    &st of the Nt{ corner of the NE\ of said Section ro, said point being on the Fast
    right of wy- of State Highway '285; thence East 764.68 feet; thence ~th' .,
    5900) feet; thence ~e11t m.08 feet to the East right of wy of lfighway: 285;
    thence along said right of -w:y- to a point North 12 degrees 28 minutea 55 seconds
    East 194.60 feet; thence to a point mrth 3 degrees 40 minutes l3 seconds East
    200.41 feet; thence to a point~ l3 degrees 26 minutes 39 seconds Wast 205.63
       feet to point of beginning, c o n ~ 10 acres in said exception. mxl leaving
       60 acres mm:e or less; AISO, the Nil\ m\ of Section ll, Tmmship 7 North, Range
     · 14     40
           'Rest       acres, m:n:e or less, conta:ining in the aggregate 100 acres, more or less.
  'lhis d:)es rot tele:s9a mr satisfy' in lDJ Utf ~ ~ gi\e.l ~ la:em l:f ~ , file:l
1


  ~ re, e1\?d, fn ~ !e:xxd lb:k 158, ~ 34. :in tie affim of th! Cimn.t Cletk af El.illa:et- O:mty,
 .~ o f ~ ..,rder.cate of 6--'!.r.77.. mrJS mAlllIIJtN.~,




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      Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 66 of 118




                                                                                       2>1617913
                                                                                       Par;,e3of5


                                        ·-
       An easement for roadway purposes over and ao~ose a part
       of the West l/2 of the NOI'theast Qua.X"ter (NE 1/4) of
       Section 32, Township 5 North, Range 13 West, described as
       beginning at the Southwest corner of the NW 1/4 of the
       NE 1/~ of said Section 32 and running thence north 19
       feet; thence east 801.6 feet to the west right of way
       line of Inte~state Highway No, ~Oi thence southwaroly
       ~long the west right of way line ot Interstate Highway
       No. 40 to a point thereon which is 21 feet south of the
       south line of said NW 1/4 NE l/~; thence west to a point
       on the west line of the SW 1/4 NE 1/~ of said Section 32
       which. is 21 feet eouth 0£ the point of beginning; thence
       north to the point of l>eginning.
       Also, an easement fo~ I'Oadway ~urposes over and acroas
       part of the Southwest Quarter (SW 1/4) of the Northeast
       Quarter (NE 1/4) of Section 32, Township 5 North, Range
       13 West, described as follows: from a point which is
       674 feet south and 463 feet east of the ·northwest corner
       of said SW l/~ NE l/4 run northwaNlY to a point which is
       21 feet south and q57 feet east of the northwest corner
       of said SW 1/4 NE l/~; thenoe east 40 feet; thence s~uthwardly
       to a point which ia ~O feet east to the point of beginning
       thence west ~O feet to the point of beginning.




Tract f l:
A part of t:he 11W 1)4 lIB 1/4 Qf Section 32, Township 5 No~th, Range 13 West, more
particularly described as follcms, Begin at a poi~t .922 feet aa&t and 19 feet north
of the SW corner of said ·w 1/4 HE l/4. sec. 32, !SH, R13W. and nm thence north 3il
feet; ( tbenoe ea.st 155 ~eetJ ·. thence south 311 f aetj)thenca wast 155 feet to tha point
of beginning, containing 1.10 aores, l!lOre or l eu 1 Faulknel:' County, Arka.nsaa ..
Tra.0t·t12a
Part. of the Northwest Quarter (NW 1/4) of the Northeaat Qw:n:t:c~ (NE l/4) Sect1.on 32.
                                                                                 S.a
°!G'lm&hi.p S lto'J:th, 1\ange l.3 \feat, de8crl.bed as begumlng at a point wbl.oh lff1 feet
ea.at and. 19 feet north of t.h9 SIJ conier of said NW l/4 m: 1/4 a.nd :tunning theno11·north1
                                                                                   0



311 faatJ thence east 296 feet to the vest right of way itne of Interablt-!, Hlgbway No.
40.J thence sout.hwardly alo:ng the veat: ri~t of way line of Interstate Highwa)l= »o. 40     1
a -point 'Which is due east of the point of beginningJ thance west 314. 6 £1/&f ffi the potji1J
                                                                                                    to
of baginnina, situated in Faullcner County-, Al:ltansu .               ·        •
And   alaoa          .            .                 .                       ..
An ~asement for roam,ay _purposes over and across a part of the West 1/2 of the Horth-
eas~ Quarter (NB 1/4)- of Section 32, Tovnshlp 5 No?:th, 'Range 13 lieat, described as
beginning at the $outhwest corner of the NH 114 of the NB 1/4 of said. Section 32 a.nd
;running tbenca north 19 feet1 thence ea.et 801,6 feet to the wst -right o:l wa::r line of

Interstate
said I'll l/4
              1¥4I }!~
              : l/
                                                                                   som ti
Interstate W-ghwy No. 40J thence south1la-tdly along tha 'W'Gtst rigbt of way line of ·
                     !lo. 40 t.o a point: thex:~n llbioh 1s 21 feet south of the        line
                               vest to 11 ®int on the ll8Bt line of the SW 1/4 liE l 4 of sa
section 32
begkmii,.a-
              cli
                   3       eet: soutb Of the .P.21nt of beg1.nn1.Ug: the.nee north to
              WlJ:.e • ~ aullm~r: .. \;9_m1.\;lz._A!:.~~ •.
                                                                                      e point
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 67 of 118




         Part of the-NE 114 o{ SeeHon 16, Township ?          201617913
                                                              Pege4of5
        North, Ran~e 14 West, described as b~inning at
        a point 704.14 feet edst of the northwest
        corner of said NE 1/~, and continue thence east
        369.15 feett thence south 590 f~et; thence west
        3b9.15 f~et1 thenc~ north 590 ~eet, to the
         point of beginning, cont6ining 5 ~ere~, more or
         less; and
        Also, 4 30-faot read ea$ement d~scribed a~
        beQlnninQ at a point ?b4.14 Teet ~ast and 560
        faet south of the northwe~t corner of the
        NE 1/~ of S~ction 10, Township 7 North, Range
        14 WestJ thence continue south 80 feet; thenc~
        west 401.93 feet to the east right-of-wey of
        State Highway #205; thenc~ alonQ $aid
        right-of~way to a point.north 12 degree5 29
        minutes 55 seconds east 30.72 feetJ thence ea~t
        395.89 ~eet to the point of beginning,
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 68 of 118




                                                                                                     20!6fi'Dl3
                                                                                                     Pages of5

                                      ACKNOWLEDGMENT

  STATE OF ARKANSAS              }
                                 )    ss
 COUN1Y OF FAULKNER }

       On this day before me, a Notary Public, duly commissioned and acting, crune, David
 Eugene Hargrove, to me well known as the Grantor in the foregoing deed, and stated that he
 executed the same for CQnsideration, uses and purposes therein mentioned and set forth.

        And Grantor declared that he oflus own free will, executed said instrument therein for the
 consideration and purposes therein contained and set forth, without compulsion or undue
 influence.

          WITNESS my hand and official seal this~i1'day ofQc.,-.lb\;;v:                   , 2016.




 My Commission Expires:
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         1/3,h1,
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OCII 1 1 ; , . , . , . . . ~ -
    CIQlll1,-.-1W
       l!JQICF~
                  ...
                                             The m1dersignc:d hereby certifies under penalty
                                             of false swearing that tbe legally cotre1;t amotu1t
                                             of documentary stamps has been placed on this
                                             instrument Exempt or no consideration paid if
                                             none shown.

                                             ~ I4. r1 ro 1.d?
                                             Grantee or Grantee' Agent
                                             1./?i"C:,    f/4,1 y       <£-5' ,JJ
                                              Gta.otee Street Address

                                            ~ A f v scu,.t               r'<.o~ 9
                                              Grantee's City Scace and Zip Cede




                                                                        ----- -- ----------------
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 69 of 118




                                                                                   / C RTIFICATE Of RECORD

   Faulcner County Title Company                                                    fn~trument 1201700982
   8 Wilson Farm Road, Suite A                                                      ~EatlteBOOk
   Greenbrier, AR 72058
                                                                                    fil9d: 01/11112017 02:43 pm
                                                                                    Fa\,llkner County, Alkans11
                                                                                    Crystal Taylor, Clreult Clerk
                                            WARRANTY DEED                          .!!l; Liz Baumgaltne(, o.c.
                                              MARRIED PERSONS                      3 Pagea               S25.00
   KNOW ALL MEN BY THESI: PRESENTS:

  THAT, Jimmy Reynolds and wife, Verna Reynalds, hereinafter called Grantors, for end In .consideration
  of the sum of One and no~ hundredths ($1.00) Dollars and other~ and valuable conside,ation In
  hand paid by David Hargrove and Ruby D. Hargrove, husband and wife, the rec:e(pt of whk:h fs hereby
  acknowledged, do hereu, grant, bargain sell end convey unto the said, David Hargrove and Ruby D.
  Hargrove, husband and Wife, hereinafter called Grantee&, and unto their heirs and assigns forever, the
  folloMng lands lying In the County of F1ulkner and State of Arkansas, to wit:

  Part of the NW 1/4 SE 1/4 of Section 10, T7N, R14W, Faulkner County, Arkansas more partieularfy
  described as follows: Commencing at the NorthWest comer of the NW 1/4 SE 1/4 at a found 1/2"' rebar
  (APLS #1243); thence along the West line of said NW 1/4 SE 1/4 South 01 degrees 42 minutes 20
  seconds West 464.96 feet IQ lhe point of beginning; thence leavtng said West line Soulh 89 degrees 36
  mlnutes 42 seoonds East 675.76 feet to a set 1/Z' rebar (API.S #1243); thence North 01 degrees 42
  minutes 47 seconds East 437.81 feet to a set 1/Z' nibar (APLS #1243) on the North llne of said NW 1/4
  SE 1/4; thence along said North line South 87 degrees 18 mlrutes 33 M()Onds EMt 645.21 feet to a found
  2" pipe at 1he Northeast comer of said NW 1/4 SE 1/4; thence feavtng said North line along the East lne of
  said NW 1/4 SE 1/4 Soulh 01 degrees 42 minutes 47 seconds West 678.23 feet to a found ·1/2" l'ebar
  (APLS #1243); thence leaving said East Bne North 89 degrees 36 minutes 28 seconds West 1320.77feet
  to lhe West rma of said. NW 1/4 SE 1/4; thence along said West line North 01 degrees 42 minutes 20
  seoonds East 266.49 feet: to Iha point of beginning, containing 14.37 seres more or less,

  To h8\l8 and to hold the same unto the s4lid Grantees and unto their heirs and assigns forever, with an
  appurtenances thereunto belonging.

  Ard we hereby covenant with said Grantees that we will fol'IV9r warrant end defend the title to said lands
  against all lawfuJ claims whatever, subject to existing easements, building lines, restr1ctionS and
  assessments of 18COrd, If any. No warranty or representation Is made as to any mineral interest on the
  afofemenlloned property.

  ANO we, Jimmy Reynolds and wife, Vema Reynolds, for the consideration recited herein, do hereby
  release and rerinquish unto the said Grantees all our rights of curtesy and dower and homestead in and to
  Cfte said lands.




                                         Pteperect urder 111t l\lJl8l',lision of
                                                   Janes R. Pender
                                                     Allomey M Law
                                         4' 15 N. McKinley Slnlet. Sia 1200
                                                l.lllle llac:k, AR 7220&
  File No.: 107-170001-111.




                              ... ..
                                 -
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 70 of 118




                                                                                             (   201700982   \
                                                                                             \   Page2of3        1




   WITNESS our hands and seals on this 18th day of January, 2017.




                                          ACKNOWLEDGMENT

  STATE OF ARKANSAS
  COUNlY OF FAULKNER

  BE IT REMEMBERED, That on this day came before the undersigned, a Notary Public within and for the
  County aforesaid, duly commissioned and acting, Jimmy Reynolds and wffe, Ve,m Reynolds, fo me
  well known as the Grantors In the foregoing Deed and stated lhat they had .executed the same for the
  consideration and purposes 1heraln mentioned and set forth.




  My commission expires: March 23, 2022



                  SARBARACARNES LORENZ
             NOTARY PUBLIC-STATE OF ARKANSAS
                     FAULKNER COUNTY
               My eomrn.ion~ 03-23-2022
                                   1




  Fie No.: 10M70001-8L                                                                      Plge2ol2




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 Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 71 of 118




                                                                                                               ...,.,..,..  ...
                                         STATE OF ARKANSAS                                      (   .20170CSf.l2    :
                            DEPARTMENT OF FlNANCE AND ADMINISTRATION                            l   P~t3af3             ;
                                     MISCELLANEOUS TAX SECTION
                               P.0. BOX 896, LITTLE ROCK, AR 72203-0898




                                 Real Estate Transfer Tax Stamp
                                               Proof of Tax Paid·
                                                                                               ·    1•11
                                                                                    Fife Number: 107-170001-BL

Grantee:                        DAVID HARGROVE AND RUBY D. HARGROVE
Malling Address:               486HWY285N
                               DAMASCUS AR 720390000                .




Grantor:                       JIMMY REYNOLDS AND VERNA REYNOLDS
Mailing Address:
                               POBOX232       .
                               GREENBRIER AR 720580000




Property Purchase Price:                            $100,000.00
Tax Amount:                                              $330.00

County:                                              FAULKNER
Date Issued:                                          01/1812017
Stamp ID:                                             160206848




-~-~M~i    t       :
I certify under penalty of false swearing that documentary stamps


Grantee or Agent Name (printed):

     -;j;jlfjji;;&~:
-c,AgerrtN~(~
                                           ~
                                                                    or a documentary symbol In 1he legaDy correct
                                                                        ~ lJ-e...
                                                                                           tPs/o
Addl'86s:     4-ilo l\,,>~ J.&2 Al                                                   I
c1ty1State/Zip: Jp,mn sc <A.\ \ M , J.03 9                                           j
                   t                                                                 II
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 72 of 118




                                                                               1111■1■101111111111
                                                                               l.2"1~l160
                                                                               CERTIACATE OF RECORD
  nns INSTRUMENT                                                               FAULKNER CO, AR FEE $20.00
                                                                               RECORDED: 06-10-2018 01:3''.-'0 PM
  PREPARED BY:                                                                 CRYST"'-.'1'A.'t\.~
  BEN ~um #81030                                                               CIRCUIT CLERK
  GORDON, CARUTH & VIRDEN, PLC                                                 BV: DIANA VAANER. D.C.
  P.O. BOX S~8 ~-                                                              DEED
 MORRil..TON, ARKANSAS                                                         2Pages
 501-354-0125



                                   QUITCLAIM DEED
                         (Su6jm to: Grutor's resenatioa of life atau)

 KNQW Af.l,MENBYTIIESEPRESEN'ra;--.. ·· ·•·--·--- · ·---- ·· ~-- -- ·-•· ·· ······- .... --·· ----

        TIIAT, I, Rebecca &twards, a single person, GRANTOR, for and in consideration of the

 sum of Ten. Dollars ($10.00), to~ ~d by Kimberly Alison Welter,. Kelly Denise Tapley

 and Rickey Carrell Joyner GRANTEES, do hereby grant, sell and quitclaim unto the said

 GRANTEES and unto their heirs and assigns forever, the following lands lying in the County of

 Faulkner and State of Arkansas, to-wit:

        A put of the Southeast Quarter of the Northwest Quarter (SE 1/4 NW 1/4) of
        Section Ten, (10) Township Seven (7) North, Range Fourteen (14) West, described
        as begimdng al a point which Is 958.32 feet North of the Southeast Conaer of said
        Southeast Quarter Northwest Quarter (SE 1/4 NW 1/4) and nm Thence West 315
        feet; Thence Nortb 210 feet; thence East 315 feet to the East line of said Southeast
        Quarter Nordnrest Quarter; {SE 1/4 NW 1/.t) Thence South along the East line of
        said Southeast Quarter Northwest Quarter (SE V4 NW 1/4) 210 feet to the point of
        beginning, containing 1½ acres more or less.

        Subject, Jaowner, to aB valid outstanding easements, ripts of way, mineral leases,
        minenl reservations and mineral conveyances of record.

        SUBJECT TO: Grantor Rebecca Edwards reservation of a life estate..

        TO HAVE AND TO HOLD the same unto the said GRANTEES and unto their heirs and

 assigns forever, with all appurtenances thereunto belonging.

        'YflNESS our bands and seals on this JD~y of-...Ldl~~"'--;I'¾-
                                                                    __ _ _ __., 2018.
      Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 73 of 118




                                      ACKNOWLEDGMENT
ST.t\TE OF ARKANSAS             )
                                )~.
COUNTY OFfaJ~_.e,/)
 •      BE IT :REMEMBERED, That on this day came before me, the -~gned, a !1'?.b.l!Y pub-_
lie within and for the county aforesaid;-dnfy c»iiimiSStonedana aci:irii Rebecca Edwards, to me
well known as the grantor in the foregoing Deed, and stated tbai she had executed the same for
the consideration and purposes therein mentioned and set forth.

       WITNESS my band and seal as such Notary Public on t h i s ~ of
    flJCky             ,2018.


                                                    ~~
                                            Notary Public

My commi~ion expires=
.     :5:4-2-ou
      '   -  .



I certify under penalty of false swearing that
at least the legally correct amount of documentary stamps
have been placed on this instrument:



~
                 ...
G &>~-~

Grantee·Address:
           Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 74 of 118




                                                                                                                        '.
                                                                                                                     I.,••:




Crystal Taylor         ,                 Faulkner County Transaction 1:94649
Circuit County Clerk and.ReglSt(ar                R~ipt I: 464171
724 Locust Street, Suite 102             Cashier Date: 5/10/2018 01 :34:50 PM
C::OOway, AR 72034                                   (DVARNER)
501-450◄911


Customer Information                 ifran~on Information                       IPavment Summary
REBECCA EDWARDS 501-733-1296         Pate Received: 5/10fl018                   Total Fees: $20.00
                                                                                !Total Payments: $20.00
                     J
                                     Total Docs Received: 1
     ...       ·-·       ..
M:~ents
1 Recorded Items


Recording Fee 1st Page@$15.00
Additional Paoes @ $5.00             I                                          ,
                                                                    Instrument #:L20180716Q Date: 5/10/2018 01:34:50_ PM
                                                          From: EDWARDS, REBECCATo:WELTER k18MBERLYAUSON
                                                                                                                 $20.qo
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            Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 75 of 118



InaU'Wlentt L202121353 Page 1 o~ 3

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    Piease Return T.o:
    Lenders Title Company
                                                                                               -■r,.,._11.c.
                                                                                                                    CiJ:<Ni• a-ir




    1302 Main Street
    Conway AR, 72034
    Phone: S01-'327-681 i
    Fax: so·1.J29-4962

    File.Number: 21-03~01-J"S0
    'J1lit deed form prepared under tlic SIIJ!CMlioa ot
    J.Ma11:Sprldley,AIIOfflCYlllaw        .
    I.SOI N. Unlvcmty, Suite 155
    i..tllfe Kaci.AR 72202
    T(IIIHctionll dila complote4 i>y Londffl TIiie Company



                                                                                      FOR RECORDER'S USE ONLY


                                                             WARRANTY DEED
                                                                 CM.ARRIEO PERSONS)

    KNOW ALL MEN :BY THESE PRESENTS:

               That, ShaM G. Bradshaw and Emily S. We.st. husband and wife, G~ntor(s), for and in consideration o( the sum
    of-TEN AND 00/100- OOLLARS-($10.00)-a!ld othcr·good and valuable constderatlon:ln hand paid by Shane M.
    Markuson, an unmarried person; Grantee(s), the receipt ~nd sufficiency of which is hereby .acknowledged, do hereby
    pnt, l>atgain~ selJ _and convey unto lhe Grantee(s), and unto·hls·heirs m1d ass{gns forever, the following lands lying'in the
   County ofFaulkn~ arid Jhe State of Arkansas to-wit:


              Part ol lhe SE1/4 .NWl/4 ot Section l 0, Towa.sbip ·1.North, Riinre 14 W~t, or the 5th
              P.rindealMeridian, Faulkner County, Arkansas. being·more.particularly described as
              follows:

              Commencing at an Iron ·for the Southwest comer of'aald SEl/4 NWl/4; ·thence along th,
              South liqe thereof SS'r30'18".E a distance or 824,ll feet (o a ~ Inch rebar witfa cap {P.ts
              1804) and the poln* or beginning; thence leaving wd South Hae 'N01°42'59"E ·• dlstanL"e. or
              742.95 feet to·i 1/l lneh rebir being a ·fence; thence along sai._ fence SS7°.24'22"E a distance
              or 164,4l> feeno ~ aaJl setla ~ feace corner; tflence ieaving said fence SOi'oOl '32"W a
              dlstaace of 63.45 feet, to a 518 iacli' rebar wit~ cap (PLS 1804); ~eoce S86°53'49"E •·
              dista-.ce of286.62 ~tto • 5/8 inch rebar with cap (PLS 1804) being on the WesterlJ rjgbt
              of way of Arkansu State Bighway·#285; thence along said rlghJ ofway·S02°S5'24"W a
              distanee !)f.676.14 feet to• 2 bac_h ~tpe fence comeri thence ltavine said rlpt of way
              J\187°30'18"W -a distance of 434.24 feet'to the polnf of.beglnnlar,
         Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 76 of 118



Ibatrwaentl L202121353 Page 2 o~ 3




                                      .
              Subjeet to any recorded: assessments, building lines, easements, mineral reservations and/or conveyances, and
    resbiclions, if any.


              TO HA VE AM> TO HOLD the above described lands un·to the -Orantee(s) and unto his heirs and assigns
    forever, with all 1t11ements, appurtenances, and hercdiia.ments thereunto belQnging.
             And the Grantor(s) her~b)' covcnant·wlth the. Grantee(s) that they will forever warrant.and defend the title to the
    above described 1ands agalnsf all claims whatsoever.
            And we, Shane o; Bradshaw' and .Emily S. West, hu.,band and w;fe, for the consid~tion recited herein, do
    hereby release and relinquish unto the Orantee(s) and unto his he~ and assigns, all of our right ot: dower, curtesy, and
    homestead in and 10 Sl!id lands,
             WITNESS O\Jr hand(s) and seal(s) on ~is St!, day ·or October, 2011.

      l Cleftifl under~ 0rra11e 11~111
      Uial documCnUlly l!lfflpl or•    doeliln,;ac.y
      symbol .In the lc,plty l:OITCCI lmO'Jllt has
      ken pl.-! DD 1h11 lnsinlmenL l3XCrnpl ot ao                         Shane G. Bradsh1w
      -ida:ation paid i(flOl!C I ~
      ORA!ffl!eORAOE>lf;
                                   Shant M. Miik111011

      ORANl'EE'S ADDRESS! :206 HwyllS F.asl
                           Orecnbricr, AR 1l0SI




                                                               ACKNOWLEDGMENT

   STATE OF ARKANSAS                                   )
                                                       ) ss.
   COUNTY OF PAULl<NER                                 )

      'BE IT REMEMBERED, that on tflis day came before me, the undersigned, a notary public Wiihin and for the County
   and State aforesaid, _dilly comm1ssloned and acting, Shane G. Bradshaw.· ~d ~ily-S.. West, husband and wife, to me well
   k,\own as (or satisfactorily proven to be) the persons whose names arc subscribed to thB ·foregoing insfuimcnt and
   acknowled~d that 'lhC)' had executed the same for the consideration, uses and purposes th~ln mentioned and sctfonh.

       JN·TESTIMONY WHEREOF, l have hereunto set my hand and official seal this 8th day or Octo.~r, ~1.




   .Mr tommisslon Expires:
                                                               Nt:ki~
         Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 77 of 118



Inatrwnentl L202121353 ~•v- 3 o~ 3                                                                            M, ..._. . . .



                                               STATE OF ARKANSAS
                                DEPARTMENT OF FINANCE AND ADMINISTRATION
                                           MISCELLANEOUS TAX SECTION
                                   P.O •. BOX 896, LfmE ROC,C..AR 72203-0896




                                     Real Estate Transfer Tax Stamp                                . ,
                                                   Proof of Tax Paid
                                                                                      Flle Number. 21-03   1-350 ·

    Grantee:                        SHANE M. MARKUSON
    Mailing Address:                453 HWY285N
                                    DAMASCUS AR 720390000




    Grantor:                        SHANE G. BRADSHAW AND EMflY S. WEST
    Maffing Address:                P.O. BOX57
                                    ADONA AR 720010000




    Property Purchase Price:                             $290,000.00
    Tax Amount:                                             $957.00

    County:                                              FAULKNER
    Date Issued;                                          10/11/2021
    Stamp ID:                                            688744448




    I certify u~er penalty of false swearing·thatdocumentary stao,p~ or a ~ocumentary symbol In flfe regalfy correct
    amount has been placed on lhb<in~l                            ··

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          Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 78 of 118

rnstrumentt L202103941 Page 1 of 3
                                                                                        CEKTIFICATE or l!O!ZXIID
                                                                                        rat.tlkner Count.v. M F•• 1%5.00
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                                                                                        l"IN.l~ ~t.v Cl.H:\Q.t. OA:ilc.
          Faulkner Counly TiHe Company                                                  IIY: DYAIIIIEID.C,
                                                                                        DEED
          8 Wilson Farm Road, Suite A
          Greenbrier, AR 72058



                                                   WARRANTY DEED
                                                    MARRIED PERSON

          KNOW ALL MEN BY THESE PRESENTS:

          THAT, Heath Sigrist, a married person hereinafter called Grantor, for and in consideration of the sum of
          One and no one hundredths ($1.00) Donars and other good and valuable consideration In hand paid by
          Danny George Lane, an unmarried man the receipt of which is hereby acknowledged, does hereby
          grant, bargain sell and convey unto the said, Danny George Lane, an unmarried man hereinafter called
          Grantee, and unto his heirs and assigns forever, the following lands lying in tt,e County of Faulkner and
          State of Arkansas, to wit:

          Part of the NW1/4 of the SE1/4 of Section 10, TTN, R14W, Faulkner County, Ari<ansas, more particularly
          described as follows: Commencing at the Southwest corner of the NW1/4 SE/4 Section 10, al a found
          112• rebar (APLS#1243); thence along the West line, N01 "41'58" East 269.06 feet to a set 1/2" rebar
          (APlS#1243) being the point of beginning; thence N01°41'58" East 285.08 feet to a set 112• rebar
          (APlS#-1243)~ thenc& S69.32'15" East 305.SO fee\ to a set 112" rebar (APLS#1243); \hence s01•41·ss·
          West 285.08 feet to a set 1/Z' rebar (APLS#1243); thence N89°32'15" West 305.60 feet to a set 1/2"
          rebar (APLS#1243) to the point of beginning

          To have and to hold the same unto the said Grantee and unto his heirs and assigns forever, with all
          appurtenances thereunto belonging.

          And I hereby covenant with said Grantee that I will forever warrant and defend the title to said lands
          against all lawful claims whatever, subject to e,dsting easements, building lines, restrictions and
          assessments of record, if any. No warranty or representation is made as to any mineral interest on the
          aforementioned property.

          AND I, Kandace Sigrist, wife of the said Heath Sigrist a married person for the consideration recited
          herein, do hereby release and relinquish unto the said Grantee all my rights of dower and homestead in
          and to the said lands.




                                                 Prepared under the supervision of
                                                          Ji.vnes R. Pender
                                                           AttOl'fley Al law
                                                 415 N. tkKlnley Street. Ste 1200
                                                      I.J1Ue Rock, AR 72205
           File No.: 101-210020-BL                                                                                 Page 1 of2
          Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 79 of 118

Instrumentl L202103941 Page 2 o~ 3




          WITNESS our hands and seal on this 26th day of February, 202,.              -"    /2_"'="-:.::.·.   -7
                                                                       ;t:JJt4r~
                                                                      Heath Sigrist


                                                                       ~('Q\
                                                                       andacigrlst


                                                           ACKNOWLEDGMENT

          STATE OF ARKANSAS
          COUNTY OF FAULKNER

          BE IT REMEMBERED, That on this day came before the undersigned. a Notary Public within and for the
          County aforesaid, duly commissioned and acting, Heath Sigrist, a married person, to me well known as
          the Grantor in the foregoing Deed and stated that he had executed the same for the consideration, uses
          and purposes therein mentioned and set forth.

          And on the same day voluntarily appeared before me the said Kandace Sigrist, wife of the said Heath
          Sigrist a married person to me well known as the Grantor in the foregoing Deed and stated that she had
          executed lhe same for the consideration, uses and purpo~es therein mentioned and set forth.
                                                                           \
          WITNESS my hand and seal as such notary public this 26tH.day of February, 2021.               ,..{),_

                                                                      '-.'fkuhaJL Giti"t-{I Jtlll1'V:\ .- ·
                                                                      Barbar Lorenz, Notary Public                    ( \

          My commission expires: March 23, 2022                                                                       \ .J

                          Bf,RilARACARNES LOREl-!z°' .
                      NOTARY P!JSLIC-SiATE OF ARl<'/1NS;•.:
                              FAULKM!;R COlt-:Tt                  ·
                        My CO.illT'.ission El'.j)ires 03-Jj-LC/2? 1
                           .£!W."~Mf; 1::3M{liP._-___ j




          File No.: 107-210020-SL                                                                                  Page 2of 2
               Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 80 of 118

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                                                             STATE OF ARKANSAS
                                                DEPARTMENT OF FINANCE AND ADMINISTRATION
                                                         MISCELLANEOUS TAX SECTION
                                                   P.O. BOX 896, LITTLE ROCK, AR 72203-0896




                                                        Real Estate Transfer Tax Stamp
                                                                               Proof of Tax Paid
                                                                                                                          11•1
                                                                                                             File Number: 107-210020-BL

     Grantee:                                         DANNY GEORGE LANE
     Mailing Address:                                 426 HWY 285 NORTH
                                                      CONWAY AR 720340000




     Grantor:_                                        HEATH SIGRIST
     Mailing Address:                                 488 FIRESTATE ROAD
                                                      DAMASCUS AR 720390000




     Property Purchase Price:                                                           $148,000.00
     Tax Amount:                                                                            $488.40

     County:                                                                             FAULKNER
     Date Issued:                                                                         03/01/2021
     Stamp ID:                                                                           668346368




     I certify under penalty of false swearing that documentary stamps or a documentary symbol in the legally correct
     amount has been placed on this instrument .         .

                                                                                            \.,...:U;:::...'..c...~--------------
                                      --_-+)....,(.),....ll..._l...,,O.'""'."-.Jo..:::::_;:__
     Grantee or Agent Name (printed):__
     Grantee or Agent Name (signature):'i))n j O Jo.n..QJ)                             <                      Date:   3 \\ \ d0~})
     Address:           ~2..lv 1-.lli.:)'-I afl's I\,.)(; l"'i Il
     City/State/Zip: ( ' .O()l.LJ~ A¢ r"f 2034
           Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 81 of 118

-Instrumentl I.202217810 Page 1 of 3

                                                                                CZRTIEICM'E OF I\ECOlU>
                                                                                FauU:ner Ooanty, Alt F- $25.00
                                                                                I hareby certi.fy that thia in•t~at vaa
                                                                                Filed and Racozded 1n. the Official. Reco~
            Type or Instrument: Quit C1alm Deed
                                                                        ."      In Doc: lluaa L202211810 3 Pagea
                                                                                10/05/2022 08:26:57 .Ila!
            Grantor: Ncwrays, Inc., a Delamre Corporation             "         Cz:yat ■l T.aylor
            Grantee: NEWRAYS ONE, LLC, an Arknnsns Limited Liabnity Cnmpaay     F.aull:Der County Circuit Clerk
                                                                                BY: DVARMER D.C.
                                                                                DEED
            Tllb Jastru111ellt \\'as Prepared
            \\'l1boutTlde San:h or Surny By:
             IUppy I.aw Pll"IIII
            1137 Front Street
            Omway,AR72032
            Aftu Rccordi■g Relurn'fo:
            Rippy Law Firm
            1%17 li'roal Stretl
            Omway,AR7203l




                                                  OIDTCLAIM DEED
            KNOW ALI., PERSONS BY THESE PRESENTS:

            TBATI, Newrays, Inc., a Delaware Corporation, hereinafter known as GRANTOR, for and in
            consideration of the sum of Ten Dollars ($10.00) and other good and valuable consideration, in
            hand paid by NEWRAYS ONE. LLC, an Arkansas Limited Liability Company, hereinafter
            known as GR.A.Nl'EE. the receipt of which is hereby acknowledged, do hereby grant, sell,
            quitclaim and release any and all interest in our right, title, equity and estate unto said Grantee
            and unto its heirs and assigns forever, in and to the following described lands situated in
            Faulkner, State of Arkansas, to-wit:




            PLEASE SEE EXHIBIT "A"




                    To have and to hold unto Grantee, and unto its heirs and assigns forever, with all tenements,
            appurtenances and hereditaments thereunto belonging.




                     In Witness Whereof, We have hereunto set our hands this 4111 day of October, 2022.




                                               ! ,;
            - - - - - - - - - - - - - - - ' - 1_ _....,
            Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 82 of 118
        -
Instrument# L202217810 Page 2 of 3




                                                    ACKNOWLEDGMENT

             STATE OF ARKANSAS
                             )
                             )                        ss
            COUNTYOFFAULKNER )

                   On this day before me, a Notary Public, duly commissioned and acting, came, Yizheng
            Wang, to me well known as the Grantor in the foregoing deed, and stated that he executed the
            same for consideration, uses and putposes therein mentioned and set forth.

                    And Grantor declared that he, of his own free will, executed said instrument therein for the
            consideration and purposes therein contained and set forth, without compulsion or undue
            influence.

                    WITNESS my hand and official seal this 4 th day




            My Commission Expires:         if<S,I;)'761
            (SEAL)
                                                           The undersigned hereby certifies under penally
                                                           of false swearing that the legally correct amount
                                                           of documentary stamps has been placed on this
                                                           instrument. Exempt or no consideration paid if
                                                           none shown.



                      CHRIS RIPPY
                 11:otery Publlc:•Athnsu
                    faultner Countv                        4168 Arden Or•• El Monte. CA 91731
            My Com minion Expires 01-31-2031               Grantee's Address
                Commlulon t 1Z380UB
           Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 83 of 118

~Instrument# L202217810 Page 3 oi 3




                                                    EXHIBIT "A"
              Part of the. N ½.SW¾ of Section 10,T7N, R14W, FanIImer County, Arlcnnsns; more
              partJcnlarty described as beginning at the Northwest ~orner of said N ½ SW¼; thence
              along the WesNEne ofsatd N ½SW¼ South 00 degrees 09 minutes 36 seconds West 327.82
             .feet to the point of beginning; thence leaving said West line Sonth 88 degrees 36 minutes 56
              sc<!Onds East 2637,10 feet to iho East line of S!lid N ½SW¼; thence along .said East line
              South CO degrees 31 minutes 28 seconds West 330,14 feet; thence Jaavfng tf1e Enst line
              North 68 degrees 33 minutes 52 seconds West2635.05 feet to the West line of said N ½ SW
              ¼i thence along said West lino North 00 degrees 09 minutes 36 seconds Enst 327,82 feet to
             the point of beginning, Subject t.o all roadways, easement and reservations thnt nre of
             record or physically iu place.
             ALSO n part of the NE¼ SW 1/4 of Seclion 10, TIN, R14W, Faullaler County, Arkansns;
             moreparticulnrly described as beginning at the Northeast corncrofeaid NE¼ SW¼;
             thence along the East line of sai.d NE¼ SW ¼ South 00 degrees 31 minutes 28 seconds West
             31!>,59 feet to the point-0£bcgioning1 thence continue alQDg said :Enst Un.e South 00 degrees
             31 minutes 28 seconds West 10.54 feet; thence leaving said ERst line North 88 degrees 36
             minute., 55 seconds West 537,23 feet; thencnNorth 79 degrees 29 mlnntes 13 seconds.East
 .
 I           51.14 feet; thence South 88 degrees 36 minutes 56 seconds East 487.03 feet to the point of
             beginning.                                                           _
 !
             LESS AND EX'.CEPT a pnrl of ihe NE¼ SW¼ of Section 101 T7N, R14W, Faulkner
             County, Arltansns; more particulnrly described as beginning nt the Northeast corner of
             said NE¼ SW%; thence along the Enst line of snid NE¾ SW¼ South 00 degrees 31
             minntes 28 seconds West 350.13 fceti thence leaving snid East line North 88 degrees 36
             minutes SG seconds West 537.23 feet to the point of beginning; thence South 79 degrees 29
             minutes 13 seconds West 234.92 feet; thence North 10 degrees 321ninutes 52 seconds Ea<it
             49.06 feet; thence South 88 degrees 36 minutes 56 seconds East 222.07 feet to the point or
             beginning.


             RESERVING UNTO GRANTOR ALL OIL, GAS & MINERAL RIGHTS IN, ON & UNDER
             SAID LANDS.
      Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 84 of 118




                               UNITED STATED DISTRICT COURT
                                          FOR THE
                               EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES,JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DAVID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                  PLAINTIFFS

VS.                                           4:23-CV-685-LPR

NEWRA YS ONE, LLC                                                            DEFENDANTS
                             AFFIDAVIT OF SEPARATE PLAINTIFF
                                    GLADYS ANDERSON

        I, GLADYS ANDERSON, state the following under oath:
        I.     I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am
a plaintiff in the above-captioned case.
        2.     I have been to the doctor several times over headaches and stress caused by the noise
from the bitcoin mine. Nothing seems to help me. l never had blood pressure problems in the past.     But
now every time it has been checked since bitcoin fired up it has been very high. I am struggling to sleep
at night when it seems loudest. It can be heard inside of my house, my mother's apartment, and the shop.
        3.     l am having ringing in my ears and can hear the noise when I am not at home. Almost
like it is stuck in my head? Recently I went to the doctor over my ears bothering me. There was no fluid
or infection but the canal was red and the doctor believes my ear is irritated due to the constant noise l
experience. I am seeking further medical treatment with a specialist.
        4.     I have also began trying different medications for anxiety and depression after the bitcoin
mine began operation. It has not helped. I have become more paranoid and uncomfortable. I can not hear
vehicles pulling in my driveway. l cannot hear the kids when they get out of my sight. The birds have
stopped coming for food in the backyard, and the deer have stopped coming into the yard.
                                           Pagel of 3
                                                                                                 EXHIBIT

                                                                                                AA
    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 85 of 118




        5.          My mother, Geraldine Acree lives in the apartment on the property and has many health
conditions as well as significant hearing loss. She needs hearing aids but can hear the noise from the
bitcoin mine, even inside her apartment. She has started having chest pains and has had to undergo
several tests and procedures for her heart since the noise started. The doctors have found no blockage or
explanation for the pains she's having and suspect it could be due to the noise.
        6.      My minor handicapped son F.A. is experiencing more meltdowns and more aggressive
behavior since the noise started. School was still in session when it started and his behavior went
downhill at school. He spends less time outside swinging or swimming due to the noise. When we are
able to leave the home when we return my son has serious meltdowns lasting hours, hitting himself,

holding his ears and crying. He will refuse to get out of the car screaming "bye bye.''
        7.      My minor son K.A. has never had a headache before this started. Has had 3 now that he
has complained about.
        8.      I listed acreage behind my house in April a couple weeks before noise started. There were
interested buyers in the beginning but since the noise has started there has been no interest
        9.      Attached as Exhibit A.l-Exhibit A.5 are videos depicting the noise levels at my house
from May 2, 2023 through the present day.          I personally took these videos and they accurately depict

the noise levels.     Attached as Exhibit A.6 are my notes depicting the noise levels from the crypto facility
and when it was shut down.           Attached as Exhibit A. 7 are medical records of my minor son F.A.
depicting medical problems due to the crypto facility noise.
        10.     The noise from the bitcoin mine has severely impacted my family and the value of my
property.
        FURTHER AFFIANT SA VETH NOT.


                                                      ~----

                                                Page 2 of 3
    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 86 of 118




                                         ACKNOWLEDGMENT
            •·,.iJ.A:1?A U J ~
~~~~T~rbf~~
        BE IT REMEMBERED, That on this j{) day of0,,u_~                           , 2023, came before
me the undersigned, a notary public within and for the county and state aforesaid, duly commissioned
and acting, GLADYS ANDERSON, to me well known, and acknowledged that she executed the
foregoing document for the consideration and purposes th ·ein mentioned and set forth, and subscribed
and sworn to that document before                             .                n?.2
                               ..,\t-:~MN.eo .
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(Seal)                        (   9    I) Q   g) Cl)
My commission expires:      -n·,1    CR.:~
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 87 of 118




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        Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 88 of 118
UAMS Enterprise Fax 7/21·~023 10:48:55 AM PAGE               Fax Server



 A--~
 ________________                     (MRN-                                                                                                                       Encounte r Date: 07/13/2023
                                                                                                                                                                                      ___;....,;;;



             .. ~u.~~.e.1!'...~i!':. ~.~····················· . . e~9.9.r~.~~..~~.t~.~ .... ~~···•···········•·~~.C.~.~~~:.r..~a..t~_:_ . !~~.~!~.?~? ................................................. ·····
             .e~v~1~.i~r:i .......................................~i9.!1.~d.............................................g.'.~.a.~.i?n..I!rn~.: ...!.!.1}t?.g?.~J.Q.:.!.?..~M.........................................
              Specialty: Developmental
              • Behavioral Pediatrics


 Patient:      P.JA
 Documented: 7/13/2023 1 :43 PM
 Location: DDC Dennis Developmental Center
 Patient MRN#:
 DOB:11111'2009

 Reason for Visit
 The patient is a 13 y.o. 9 m.o. male who presents for a telemedicine visit
 today for a follow-up visit..
 Accompanied By/Informants: mother
 The patient was seen today for a follow-up visit for Attention Deficit/Hyperactivity Disorder (ADHD) and
 Hyperkinesis.
 Patient was last seen on 2/23/23.

 Because of COVID-19 pandemic, we are holding some follow up appointments via telemedicine, to maximize social
 distancing. This visit was held via audio and video connection.Vverbal consent obtained. Patient was at his primary place
 of residence during this visit, and I was at the Dennis Developmental Center.

 Interim Developmental and Behavioral History:
 He has been sleeping well most nights currently. The family is experiencing unusual stressors related to the
 establishment of a Bitcoin mining facility on May 2, 2023. The noise is extremely loud and constant, 24//7 (I
 was able to hear this during this telemed visit). She describes involvement of local government and local new
 outlets. She reports the "JP" In her area is intending to submit a noise ordinance to limit decibel level to 60, and
 tells me that the current noise is at 70-80 decibels . • is more aggressive and irritable, since this miming
 facility became active.

 Problem List/Past Medical
 P-i,tient .Adive Prnbl~,rn Ust
Pi;i9n~)iE~           .
   • Autism spectrum
   • Hyperkinetic syndrome


 Please see prior reports from our clinic, most recently dated 2/23/23, for detailed past medical history. There is
 no reported history of chronic or recurrent medical problems, and he has been medically healthy in the interim,
 since the last visit with me, except that he currently has a "knot" on his inner thigh that will be evaluated by the
 PCP at an appt this afternoon.

 Medication History
 Current Outp,~tient Medications
 .t~ii:dJ-:aH~·r:i·. -::·:. · ··:.-· · _·_.:· ...:·:>.::.$~~ .. .
                                               .     D!~pen~>~ ···
  • cetirizine (ZYRTEC) 5 MG chew Take 5 mg by mouth

  • ~:~rOXYzine (ATARAX}ifaMG ~:~•,t~:ra~i;t (25 60 tablet                                                                              1
    tablet                    mg total) by mouth 2

 ~.F                                  ( M R ~ Printed by Chapman, Yosha A [44824] at 7/27/2023                                                                                                  Page 1 of 4
 10:48 AM                                                                                                                                             §!            EXHIBIT

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 A£        F£        b(MRN                                                                Encounter Date: 07/13/2023
                                      (two) times a day as
                                      n~e~~.d fC)r an>.<iety.
  • melatonin (CIRCADIN) 3 mg         Take 3 mg by mouth
    Tab                               at bedtime. taking
                                      prn

 No current facility-administered medications for this visit.

 We initiated a trial of Hydroxyzine at the Feb 2023 visit, to target some behavioral outbursts with associated
 physiological symptoms we suspected might be attributed to anxiety. but mother reports this was not effective
 (and possibly associated with increase in hyperkinesis), so it was discontinued.

 Family History
 Family history reviewed, and no significant changes reported.

 Social History
 He lives in Greenbriar, AR with mother and brother. Parents have been in the process of divorcing for quite
 some time, and mother reports today that the divorce is now final. Faa father Is not currently seeing F .
 regularly, in supervised visitation, but did visit with the boys twice rec=iy.

School History
He attends Greenbriar Middle School, In self-contained special education classroom placement. He also
receives speech-language and occupational therapies.

Review of Systems
Other than what is documented elsewhere, comprehensive review of systems is otherwise negative.

Vitals
Ht 1.651 m (5' 5") I Wt (P) 75.3 kg (166 lb) I BMI (P) 27.62 kg/m2
63 %ile (Z= 0.32) based on CDC (Boys, 2-20 Years) Stature-for-age data based on Stature recorded on
7/13/2023.
(Pended) 97 %ile (Z= 1.87) based on CDC (Boys, 2-20 Years) weight-for-age data using vitals from 7/13/2023.
(Pended) 97 %ile (Z= 1.87) based on CDC (Boys, 2-20 Years) BMl-for-age based on BMI available as of
7/13/2023.

 Physical Exam
Because this was a telemedicine visit, comprehensive exam was not possible. He was visible during
the visit, in no acute distress, well-hydrated, well-nourished.

 ICD Diagnosis:


 1.   Autism spectrum                           F84.0       299.00     DDC Follow Up - With MD/APRN

2.    Hyperkinetic syndrome                     F90.9       314.9      DDC Follow Up - With MD/APRN

3.    Disruptive behavior disorder              F91.9       312.9      DOC Follow Up - With MD/APRN


 Prior trials of a stimulant medication associated with side effects, an trial of guanfacine not notably effective.
Trial of hydroxyzine most recently to target behavioral outbursts (presuming it might have had an anxiety
component was also not reportedly helpful, so it was also discontinued. I had advised mother to seek child
psychiatry consultation and, given the family lives in Conway/Greenbriar, I had tried to provide a few
 A • - • fl•■• (MRN . . . . . . Printed by Chapman, Yosha A [44824) at 7/27/2023                           Page 2 of 4
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 l
        •            (MRN
 suggestions, but mother reports she cannot get a call back.
                                                                                          Encounter Date: 07/13/2023


 PLAN
Counseled regarding current developmental status, and plan as outlined below.



                                                                                                           (F-
Counseled regarding medication options, anticipated positive effects, and possible side effects, and answered
related questions. We decided to not initiate additional medication trials, and it is pretty clear that current
escalations of aggression and irritability are associated with constant noise from bit coin mining facility
reportedly covers his ears and whimpers as the family pulls into the driveway). I did again discuss pursuing
child psychiatry consultation, and also advised mother to check with PCP for recommendations, and a PCP
referral may also be necessary.

Continue current placement and services.

I spent 35 minutes on this date in review of records, interview of patient and family, clinical observations,
examination of patient, dispensing prescriptions, counseling and coordination of care, and/or documentation In
the electronic medical record.

Jill Fussell, MD

     Electronically signed by Fussell, Jill, MD at 7/13/2023 3:36 PM

   Telemedicine on 7/13/2023

  Note shared with patient
Additional Documentation
  Vitals:                Ht 1.651 m (5' 5")
                         Wt 75.3 kg (166 lb)(P)
                         BMI 27.62 kg/m 2 (P)
                         BSA 1.86 ni'(P)



   Flowsheets:               WCC-Vitals,
                             Oncology Vitals,
                             NUTRITION: Energy Needs,
                             NUTRITION: Anthropometrics,
                             NUTRITION: Anthropometrics,
                             Vital Signs,
                             Nutrition Screen,
                             Start/Stop/Units




Orders Placed
  DDC Follow Up - With MD/APRN
Other Orders Performed
  DOC Follow Up-With MD/APRN
Medication Changes As of 7/13/202310:12 AM
   None
Pl.      F            (MRN                 Printed by Chapman, Yosha A (44824) at 7/27/2023              Page 3 of 4
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   ■ FL
 /yQ                7I (MRN _ _ _)                                                         Encounter Date: 07/13/2023
 Medication Changes (continued) As of 7/13/2023 10:12 AM

 Visit Diagnoses
   Autism spectrum F84.0
   Hyperkinetic syndrome F90.9
   Disruptive behavior disorder F91.9




PJj        .1£     . ) (MRI' ■          3) :>rinted by Chapman, Yosha A [44824) at 7/27/2023              Page 4 of 4
10:48 AM
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                                     UNITED STATED DISTRICT COURT
                                                FOR THE
                                     EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELl,EY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                        PLAINTIFFS

VS.                                                 4:23-CV-685-LPR

NEWRA YS ONE, LLC                                                                 DEFENDANTS
                                   AFFIDAVIT OF SEPARATE PLAINTIFF
                                          SHANE MARKUSON

         I, SHANE MARKUSON, state the following under oath:
         I.         I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am
a plaintiff in the above-captioned case.
         2.         Things have changed in my life dramatically since May 13, 2023.       Since that day things
have changed for me & my cattle. The noise from the crypto mining that goes 24 hours a day 7 days a
week has done that.         I can hear this noise in every room of my house.     Yes, its louder in some of the
rooms.        I hate that this is happening.   I can no longer enjoy sitting on my porch, watch my cattle graze
and hear their soft moos.         You can not even hear their moos at all.     I did not sign up for any of this
noise crap. The noise does not just affect me it also is having an effect on my livestock.          I had a new
calf born on August 2, she was not due until the middle of September. The mother also suffered during
the birth. The noise coming from the Bitcoin stressed her. This is her second calf and her first calf
had no issues at all during delivery. The cattle no longer sleep in the front pasture. They have now
moved to the back pasture to sleep.
         3.         I had to go see the doctor about my blood pressure. The doctor raised my blood pressure
medicine.        I now have a constant ringing in my ear which will not go away that has me making
                                                  Page 1 of 3
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appointments with a doctor.        When I am not at home I still hear the noise that it makes in my ears.     It
upsets me that I have to hear this noise.       I was not even given a chance to say yes or no to this.     I do
not sleep at night because of all the stress this is causing.    I am up all hours of the night when I am not
working the grave yard shift.       It goes the same way during the day when I should be in sleeping, I am
up.   Now when I step out on my porch, I get nauseous because of this noise.
          4.       I did not buy my house to live with all the noise.   I can say you won't really understand
the problem until you hear it.       Sure, you can drive by & listen but you have to also understand this is
constant. The decibel meter that I use has picked up readings on June 13 th of 83 @ 8:30 pm, on July 24
had a reading of 74.4 at 12:28 p.m., on July 26 had a reading 68.8@ 11 :05pm, on July 27 had a reading
66.4 @ 8:23p.m.         My girlfriends Apple Watch went off in the garden telling us we were in a loud
environment & needed to remove ourself.
          5.       I did not ask for or was ask about any of this.   It is affecting everything in my life, from
my cattle & even not being able to sell my house.         We already know it won't sell because of this mess.
          6.       This has taken over every aspect of my life causing problems that were not ask for. Did
a reading on August 9 and it was 64.4 decibels.        So the partial sound barrier of hay they put up has not
worked.        Attached as Exhibit B.1-Exhibit B.3 are videos depicting the noise levels at my house from
May 13, 2023 through present.          I personally took these videos and they accurately depict the noise
levels.    Anached as Exhibit B.4-B.6 are pictures I took measuring and documenting the noise levels on
my property of the crypto facility.




                                                 Page 2 of 3
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       FURTHER AFFIANT SA YETH NOT.




                                                   SHANE MARKUSON


                                        ACKNOWLEDGMENT
STATEOF~
COUNTY OF. ____j ~~

        BE IT REMEMBERED, That on this 1fL day of          Jtf~r-- .               2023, came before
                                                             a
me the undersigned, a notary public within and for the county tl state aforesaid, duly commissioned
and acting. SHANE MARKUSON, to me well known, and acknowledged that he executed the
foregoing document for the c 9 ~ nd purposes herein mentioned and set forth, and subscribed
and sworn to that documen~~tfp~
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My commission expires:        -\~~·::··
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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 96 of 118




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Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 97 of 118




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                                 UNITED STATED DISTRICT COURT
                                           FOR THE
                                 EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, DRY AN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RY AN
LOVELADY, ASHLEY LOVELADY, STAN .MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                    PLAINTIFFS

VS.                                             4:23-CV-685-LPR

NEWRA YS ONE, LLC                                                             DEFENDANTS
                               AFFIDAVIT OF SEPARATE PLAINTIFF
                                           NANCY DICKERSON

        I, NANCY DICKERSON, state the following under oath:
        1.       I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am
a plaintiff in the above-captioned case.
        2.       This crypto mine has disrupted my life from the first meeting that the Quorum Court had
in April.    I have attended every meeting that Faulkner County Court and Public Safety Committee had.
I attended every meeting at Vilonia Planning and Zoning and Quorum Court in Faulkner County and in
Vilonia.     It has caused me to spend time driving back and forth, researching and sharing info, time that
I could have been doing something else.
        3.       The noise from the crypto mine bothers me morning and night.         It bothers me in the
garden or in the yard. It has caused me a lot of stress 24/7 and I have an appointment with my doctor to
talk about my hearing.      I have constant ringing in my ears, it never stops.    I feel like I may have
possibly had a mild heart problem by the back, neck and jaw pain a few days back.
        4.       I have lived here all my life. This land is family land that my parents and grandparents
worked for and bought.       I own 160 acres here and another 125 acres at Twin Groves on the Cadron
Creek. This land is valuable and I fully believe this crypto mine has negatively affected the property
                                          Page 1 of 2
                                                                                          EXHIBIT

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    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 99 of 118




values.        I certainly know I would not want to move here and listen to this mess.             I believe if I try to
sell my house the value would be affected.
          5.        This mine is also a moral issue for me, that a company can come here to a residential area
and put in an industrial site with no consideration for its neighbors or their lives or property.
          6.        The 13-year-old autistic child lives the closest.   His mom is suffering.          He is suffering.
Her mom who lives with her is also suffering.          It needs to stop as soon as possible.       It is also frustrating
that we have to spend money just to get back to where we were before the crypto mine started making
its noise.
          FURTHER AFFIANT SA YETH NOT.




STATE OF
COUNTY O F ~ - ~
                 G:vt,._,.,,~                 ACKNOWLEDGMENT



        BE IT REMEMBERED, That on this                 10
                                                    day of     t..· {.L-:,.     .'fr           .
                                                                                   2023, came before
me the undersigned, a notary public within and for the county an state aforesaid, duly commissioned
and acting, NANCY DICKERSON, to me well known, and acknowledged that she executed the
foregoing document for the consid~ration and purposes therein mentioned and set forth, and subscribed
and sworn to that docume          .... .. ;         ~
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My commission expires: +~ ..~---~~ ~
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                                  UNITED STATED DISTRICT COURT
                                             FOR THE
                                  EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                      PLAINTIFFS

VS.                                             4:23-CV-685-LPR

NEWRA VS ONE, LLC                                                               DEFENDANTS
                                 AFFIDA VJT OF SEP ARA TE PLAINTIFF
                                         TREV A BRANSCUM

        I, TREVA BRANSCUM, state the following under oath:
        I.       I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am
a plaintiff in the above-captioned case.
        2.       The noise from the mining facility is able to be heard at my house. I can hear it in the
house on the side closest to the crypto mine. lt is annoying and obnoxious. My time outside was
usually very pleasant sitting on my swing or working in the yard. Now that the crypto mine is in
operation, I am constantly annoyed by the irritating hum/whine of motors. Somedays it is louder than
others and on rare occasions when it has been silent it I think I can still hear it until I have to walk around
several minutes to decide if it is really quiet. I have noticed that I have fewer hummingbirds this year,
and deer are not as plentiful.
        3.       As far as value of my property I am fearful of the decrease its value. My husband and I
worked very hard to build what I still consider my forever home in a peaceful rural area with neighbors
who were respectful of our property.         The noise from the crypto mine changes that. I am also
concerned for the safety of our community because of the effects this facility and its noise will have in
the long tenn.
                                               Page 1 of 2
                                                                                            I       EXHIBIT

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                                                                                            I
    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 101 of 118




       FURTHER AFFIANT SA YETI-I NOT.




                                                      ACKNOWLEDGMENT
STATEOF      ~~~
COUNTY OF __..,_,......

       BE IT REMEMBERED, That on this _ll,__ day of ~LL\\l                                  , 2023, came before
me the undersigned, a notary public within and for the county and ~ate aforesaid, duly commissioned


and swam to that document before me.
                               ,,...•"•~";~"H'o;:;:'r;«.
                                      ~   ........ ~...    \
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and acting, TREVA BRANSCUM, to me well known. and acknowledged that she executed the
foregoing document for the consideration and purposes therein mentioned and set fo11h, and subscribed


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                                UNITED STATED DISTRICT COURT
                                           FOR THE
                                EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RY AN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DAVID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                  PLAINTIFFS

vs.                                            4:23-CV-685-LPR

NEWRA YS ONE, LLC                                          DEFENDANTS
                           AFFIDAVIT OF SEPARATE PLAINTIFFS
                        SCOTTLOVELADYANDLAVEANELOVELADY

       We, SCOTT LOVELADY and LAVEANE LOVELADY, state the following under oath:

        I.     We are competent adult residents and citizens of Bono, Faulkner County, Arkansas, and

are plaintiffs in the above-captioned case.

       2.      We own property in the Bono Community where the crypto mining operation began in

May 2023.     The constant squealing noise, 24/7 is very annoying.       When we are outside the noise

interrupts our concentration.   The noise can be heard in the house when the TV is turned off and no

fans are running.   We are worried the constant noise will cause health problems and ringing in our ears.

We are incurring problems sleeping at night.

       3.      Scon wakes up between I :30 am and 2:00 am and cannot go back to sleep.       We are also

concerned our blood pressure is being raised due to the circumstances.   Raised blood pressure increases

the likelihood of a stroke, and other medical conditions too numerous to mention, further causing us

concern.

       4.      One of our neighbors has an autistic child, and the constant noise has greatly affected

him.   This company's noise is not only causing medical issues but it is causing our property rnlues to

drop below market value.     No one wants to purchase a home where a constant noise is going on.     We
                                              Page 1 of 2
                                                                                           EXHIBIT

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       Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 103 of 118



moved out of town 30 years ago to get away from constant sounds.    The wildlife is going away, deer
used to come into our yard but no more.   The hummingbirds are no longer coming to feed.
       5.     The company has no respect for the homeowners in this area.      I believe these sorts of
mines were banned in China for the issues we are experiencing.
       WITNESS my hand and seal on this JJ.Ji_, day of     a.ur~U.Ji , 2023.
                                                               I)




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                                                        TT LOVELADY,,-; ·

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                                                v   LA VEANE LOVELADY                <



                                      ACKNOWLEDGMENT

                               u
       BE IT REMEMBERED, That on this        1L     day of   f\Ll.(j Lf ~)-- ,      2023, came before
me the undersigned, a notary public within and for the county and state aforesaid, duly commissioned
and acting, SCOTT LOVELADY and LAVEANE LOVELADY, to me well known, and
acknowledged that they executed the foregoing document for the consideration and purposes therein
mentioned and set forth and subscribed and sworn tot                efo e me.
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(Seal)
My commission expires:




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      Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 104 of 118




                                  UNITED STATED DISTRICT COURT
                                             FOR THE
                                  EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                   PLAINTIFFS

VS.                                            4:23-CV-685-LPR

NEWRA YS ONE, LLC                                                            DEFENDANTS
                              AFFIDAVIT OF SEPARATE PLAINTIFF
                                     MICKEY McMILLEN

        I, MICKEY McMILLEN, state the following under oath:
        1.     I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am
a plaintiff in the above-captioned case.
        2.     My entire life, I have lived on the same piece of property, which has been in the McMillen
family for well over 100 years.    I have worked hard to safeguard and maintain the land, looking forward
to the day that I could retire and spend more time raising cattle and growing crops.     After 35 years of
service at Arkansas Best Freight, I retired two years ago and began to live out my dream. That dream
was cut short when the cryptocurrency mining center became operational.       Now every morning when I
walk out to feed cattle and work in the garden, I am met with the same piercing noise.    It is still ringing
in my ears at the close of each day, and it has begun to affect my hearing. It is a constant annoyance
that makes it impossible for me to enjoy the life I worked so hard for.   I can't even sit on my own front
porch and have a conversation with my wife.
        3.     For years I have watched the value of my 40-plus acres and the property in the
surrounding Greenbrier and Wooster area skyrocket.      I was proud to think that I could leave something
of great value to my own children.     But now that value has plummeted.     My land has without a doubt
                                             Page 1 of 2

                                                                                                  EXHIBIT

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lost much of its value to me and my family as a comfortable home where we can rest and relax: it has
also lost value to potential buyers, should we choose to sell.
        FURTHER AFFIANT SA YETH NOT.




                                                                                          cMILLEN




                                                                  ACKNOWLEDGMENT
STATEO~~.::-_:::_
COUNTY OF ,.JtLv--R..l.A,

       BE IT REMEMBERED, That on this \-1:, day of                                        ~r ,
                                                                                  2023, came before
me the undersigned, a notary public within and for the county and tareaforesaid, duly commissioned
and acting, MICKEY McMJLLEN, to me well known, and acknowledged that he executed the
foregoing document for the consideration and purposes t rein mentioned and set forth, and subscribed
and sworn to that document              · ·
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                               UNITED STATED DISTRICT COURT
                                         FOR THE
                               EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DAYID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                   PLAINTIFFS

VS.                                          4:23-CV-685-LPR

NEWRA YS ONE, LLC                                                            DEFENDANTS
                             AFFIDAVIT OF SEPARATE PLAINTIFF
                                    TAMMY McMILLEN

         I, TAMMY McMJLLEN, state the following under oath:

         1.    I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am
a plaintiff in the above-captioned case.

         2.    Exposure to the continuous noise generated by the cryptocurrency data processing center

is of great concern to me because I have Parkinson's disease.      Though my disease is incurable, my

doctor has advised me about ways to manage the symptoms. One such way is to avoid stress; however,

this is impossible due to my proximity to the continuous noise of the crypto mine.

         3.    The crytpo mine is causing me to experience chronic stress.     Chronic stress can worsen

my motor symptoms of Parkinson's, including poor balance, rigidity of muscles, uncontrolled

movements, and tremor- and it can worsen non-motor symptoms, including anxiety and depression.

Chronic stress can even lead to the acceleration of my disease progression.     Another way to manage

my symptoms is to get regular exercise.    This is also more difficult to do because, to escape the noise,

I must spend more time indoors. For these reasons, the crypto mine has diminished the quality of my
life.

        4.     My home has significantly diminished in value due to the continuous noise.
                                          Page 1 of 2
                                                                                            EXHIBIT

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   FURTHER AFFIANT SAYETH NOT.




                                  TAMMYM




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                                UNITED STATED DISTRICT COURT
                                           FOR THE
                                EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STJRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                   PLAINTIFFS

VS.                                              4:23-CV-685-LPR

NEWRA YS ONE, LLC                                              DEFENDANTS
                             AFFIDAVIT OJ<' SEPARATE PLAINTIFFS
                              BRYAN STIRES AND JAMIE STIRES

        We, BRYAN STIRES and JAMIE STIRES, state the following under oath:

        I.     We are competent adult resident and citizens of Bono, Faulkner County, Arkansas, and

we are plaintiffs in the above-captioned case.

       2.      We moved here to be away from busy towns and industrial facilities. We like to spend

time outdoors and really enjoy using our porch and our pool. Since the start up of this "mining facility"

we have no peaceful place outside to enjoy. The noise from the mining facility is able to be heard at our

house. The sound is constantly running.

       3.      Even ifwe wanted to move away our property values will not be what they should be and

there will be a loss if anyone would even agree to buying. We don't want to sell our home. We like it

here. We like our community. We love our home. We don't like the noise.

       4       Being outdoor persons we arc aware of the resources available to us and our neighbors.

We bum wood as our primary source of heat backed by our electric heater. We installed a propane tank

and gas stove to reduce our electricity usage. We always conserve energy when asked. We often like to

turn off the unit and just open the windows to enjoy the night air and the sounds outside. Now this is not

tolerable due to the constant sound. Now through the freedom of infonnation act we see this mine is
                                            Page 1 of 3

                                                                                                  EXHIBIT

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pulling valuable resources (water and power) from our community.       We want it gone however if this is
not an option we want our peace and quiet returned. There are ways to alleviate the noise it just requires
them to invest capital and reduce their impact on our community.
       FURTHER AFFIANT SA YETH NOT.




                                                     BRYAN STIRES


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                                           Page 2 of 3
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 110 of 118




                                         ACKNOWLEDGMENT
STATE O~~,~~6/~~
COUNTY OF__g:J~~~.:::-__

         BE IT R~MEMBERED, That on this /-0 day o f ~                             2023, came before
me the undersigned, a notary public within and for the county and ate aforesaid, duly commissioned
and acting, JAMIE STIRES, to me well known, and acknowledged that she executed the foregoing
documont for the consideration and purposes t h e r e & and set forth, and subscribed and sworn
to that document before ~me.•                                      ~
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                                             Page 3 of 3
   Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 111 of 118




                                UNITED STATED DISTRICT COURT
                                           FOR THE
                                EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                   PLAINTIFFS

VS.                                               4:23-CV-685-LPR

NEW RAYS ONE, LLC                                                            DEFENDANTS
                              AFFIDAVIT OF SEPARATE PLAINTIFF
                                    REBECCA EDWARDS

         I, REBECCA EDWARDS, state the following tmdcr oath:
         I.    I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am

a plaintiff in the above-captioned case.
         2.    The Crypto Mining operation is located 1.8th mile from my house.       l can hear it day and
night.   The noise is a nuisance and overrides the calm country atmosphere we live here to enjoy.      I no
longer hear the doves cooing across the pastures.      I see the cattle moving around endlessly as if they
are trying to find a calm place to graze.   The noise bothers me.
         3.    I also experience anxiety and concern for my neighbors who live very near the site and
the obnoxious noise it creates for them, especially Gladys Anderson's autistic son who is in constant
panic trying to find a quiet place in his home.
         4.    My two plus acres and my house has decreased substantially in value.      Who would want
to purchase property near the noisy site?     Short answer: No one. I would compare it to purchasing
property near a land fill where the odor is outrageous.




                                             Page 1 of 2
                                                                                                  EXHIBIT

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   Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 112 of 118




        5.     The site is tied into the Entergy power supply station across the street. Since it has been
in operation my electricity had been off twice in the recent month.            Previously it was never
compromised.
        FURTHER AFFIANT SA YETH NOT.




                                        ACKNOWLEDGMENT



        BE IT REMEMBERED, That on this jJ_ day of~~~i..;::.::...._,___ _ , 2023, came before
me the undersigned, a notary public within and for the cou                 esaid, duly commissioned
and acting, REBECCA ED                                     , and acknowledged that she executed the
foregoing document for th     ~~ltlf.\R-                  rein mentioned and set forth, and subscribed
and sworn to that docum

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(Seal)                           '°UB\..\v
My commission expires:




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                                UNITED STATED DISTRICT COURT
                                           FOR THE
                                EASTERN DISTRICT OF ARKANSAS

GLADYS ANDERSON, SCOTT ANDERSON,
NANCY DICKERSON, TREVA BRANSCUM,
SCOTT LOVELADY, LAVENE LOVELADY,
MICKEY MCMILLEN, TAMMY MCMILLEN,
SHERRY NEWTON, BRYAN STIRES, JAMIE
STIRES TOMMY KIRKPATRICK, RYAN
LOVELADY, ASHLEY LOVELADY, STAN MCMILLEN,
DA YID HARGROVE, DIANNE HARGROVE,
REBECCA EDWARDS, RICKEY CARRELL JOYNER,
KELLEY TAPLEY, KIM WELTER, SHANE MARKUSON,
DANNY LANE                                                                    PLAINTIFF'S

VS.                                              4:23-CV-685-LPR

NEWRA YS ONE, LLC                                                             DEFENDANTS
                               AFFIDAVIT OF SEPARATE PLAINTIFF
                                         DANNY LANE

        l, DANNY LANE, state the following under oath:

        1.     I am a competent adult resident and citizen of Bono, Faulkner County, Arkansas, and am

a plaintiff in the above-captioned case.

        2.     I moved into my house for peace and quiet after a nasty divorce.      I can no longer enjoy

sitting outside and or being outside.      The continuous noise from the crypto mine has ruined the peace

and quiet for me and my neighbors.

        3.     The continuous noise from the crypto mine It has made our lives intolerable.

        4.     I have experienced more anxiety because of the noise along with mood swings.         I used

to have deer move around my property all the time which I see no more. r have experienced a high level

of tenseness from the noise and the number of people coming and going and guns being shown by

security at the crypto mine.

        5.     Selling my home and starting over is impossible.        I have financial restrictions due to

being disabled and living on a fixed income. I also believe my home has significantly diminished in

value due to the presence of the crypto mine's continuous noise.


                                               Pagel of 2
                                                                                                   EXHIBIT

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    Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 114 of 118




         FURTHER AFFIANT SA YETH NOT.




               n
STATE OF ~.l.~yQ,v
                                                      ACKNOWLEDGMENT

COUNTY OF~~P'--'                                                           \

        BE IT REMEMBERED, That on this 1,() day of ~ef::!=:'-,\-                       , 2023, came before
me the undersigned, a notary public within and for the county and state aforesaid, duly commissioned
and acting, DANNY LANE, to me well known, acknowledged that he executed the foregoing document
for the consideration and              '       ein mentioned d set forth, and subscribed and sworn to that
document before me.         tc,.,'f,?.M/J.~c/.                            ~
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                                                             Page 2 of 2
Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 115 of 118




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 I, John Thurston, Arkansas Secretary of State of the State of Arkansas, and as such, keeper of
 the records of domestic and foreign corporations, do hereby certify that the following and hereto
 attached instrument of writing is a true and perfect copy of


                           All Corporate records on file for



                                     NEWRAYS ONE LLC




                                              In Testimony Whereof, I have hereunto set my hand
                                              and affixed my official Seal. Done at my office in the City
                                              of Little Rock, this 26th day of July, 2023.

                                                -~c7~
                                              ·7
                                              John Thurston
                                              Arkansas Secretary of State


                                              By:WuiPtn~
                                                    Austin Beck
                                                                                                    EXHIBIT

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        Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 116 of 118
     .(ii)
       FIL';'D • Arkansas Secretary of State• John Thurston - Doc#: 15908959001 • Filing#: 811390373 • Flied On: 8/25/2022 • Page(s): 1


Certificate of Organization for Domestic LLC
                                      Filin Information
              Filing Act: 1041 of 2021
            Entity Name : NEWRAYS ONE LLC
               File Date: 2022-08-25 14:05:54
         Effective Date: 2022-08-25
       Flllng Signature: CHUN HUA ZHAO
                                  Re istered A ent:
       Business Name: REGISTERED AGENTS INC
              Address 1: 701 SOUTH ST. , STE 100
                     City: MOUNTAIN HOME
                   State: AR
                      Zip: 72653
                Country: USA
                                        Officers
             First Name: CHUNHUA
             Last Name: ZHAO
                    Title: lncorporator/Organ iz er
              Address 1: 8 THE GREEN STE A
                     City: DOVER
                    State: DE
                      Zip: 19901
                 Country: USA

             First Name: CHANGHONG
             Last Name: WU
                    Title: Manager
              Address 1: 8 THE GREEN STE A
                    City: DOVER
                   State: DE
                     Zip: 19901
                Country: USA

                                  Prlncl al
            Entity Name: NEWRAYS ONE LLC
              Address 1: 1601 WALNUT ST STE 201
                    City: CARY
                   State: NC
                     Zip: 27511
                Country: USA




                                        Certified Copy
                                         Arkansas Secretary of State
             Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 117 of 118
     ~ FIL~D -Arkansas Secretary of State . John Thurston. Doc#: 16036719001 • Filing#: 611390373 • Flied On: 10/10/2022 • Page(s): 1

Certificate of Amendment to Art. of Organization
                                     Filin Information
       Entity File Number: 811390373
           Alt Entity Type: DomLLCLimitedliabilityCompany
              Entity Name: NEWRAYS ONE LLC
                  File Date: 2022 -10-10 08 :48:01
              Alt Tax Type: LLC
         Filing Signature: CHANGHONG WU
        Amendment Date: 2022-10-10
        Amendment Text: The officer changed to Nannan Cheng (lncorporator/Organizer) and
                             Li Li (Manager)




                                               Certified Copy
                                               Arkansas Secretary of State
            Case 4:23-cv-00685-LPR Document 12 Filed 08/14/23 Page 118 of 118
     ~ FILED -Arkansas Secretary of State - John Thurston - Doc#: 17056539001 - Filing#: 811390373 • Flied On: 6/27/2023 • Page(s): 1

Certificate of Amendment to Art. of Organization
                                        Filin Information
       Entity File Number: 811390373
           Alt Entity Type: DomLLCLimitedliabilityCompany
              Entity Name: NEWRAYS ONE LLC
                  File Date: 2023-06-27 17:33:02
              Alt Tax Type: LLC
         Filing Signature : CHANGHONG CHANGHONG WU
        Amendment Date: 2022-08-25
        Amendment Text: LI LI LI should be removed as Manager and CHANGHONG
                             CHANGHONG WU remain as the Manager. NANNAN CHENG
                             should be removed lncorporator/Organizer and CHUNHUA ZHAO
                             remain as the lncorporator/Organizer.




                                                   Certified Copy
                                                   Arkansas Secretary of State
